  Case 3:12-cv-00469-N Document 19 Filed 06/10/13            Page 1 of 148 PageID 114


                                      No. 3:12-cv-469

                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION
     ________________________________________________________________

                                    ROBERT SPARKS,

                                                         Petitioner,

                                             v.

                                     RICK THALER,

                                           Director, Texas Department of Criminal Justice,
                                           Institutional Division,

                                             Respondent.
     ________________________________________________________________

                         Petition for Writ of Habeas Corpus
  from a Capital Murder Conviction in the Criminal District Court No. 3 of Dallas County
     ________________________________________________________________

                  PETITION FOR WRIT OF HABEAS CORPUS
     ________________________________________________________________


SETH KRETZER                               JONATHAN LANDERS
SBN: 24043764                              SBN: 24070101

The Lyric Center                           2813 W. T.C. Jester
440 Louisiana Street; Suite 200            Houston, Texas 77018

Houston, TX 77056
(713) 775-3050 (office)                    (713) 301-3153 (Office)
(713) 224-2815 (fax)                       (713) 685-5020 (fax)
email: seth@kretzerfirm.com                e-mail: jlanders.law@gmail.com

Court-Appointed Attorneys for Petitioner Robert Sparks

                                              1
  Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 2 of 148 PageID 115


________________________________________________________________

                PETITION FOR WRIT OF HABEAS CORPUS
    ________________________________________________________________

      TO THE HONORABLE U.S. DISTRICT COURT:

      NOW COMES, ROBERT SPARKS, the Petitioner, and respectfully

submits his Petition for Writ of Habeas Corpus, asking the Court to issue a writ

ordering his release from the Institutional Division of the Texas Department of

Criminal Justice. This application follows his conviction and death sentence in the

Criminal District Court No. 3 of Dallas County, cause number F08-01020-VJ

styled State v. Robert Sparks.

      Sparks is illegally restrained of his liberty by the Director of the Texas

Department of Criminal Justice – Institutional Division, by virtue of a sentence and

judgment imposing the penalty of death rendered in cause number F08-01020-VJ

styled State v. Robert Sparks. (See, Exhibit “A”).




                                         2
  Case 3:12-cv-00469-N Document 19 Filed 06/10/13             Page 3 of 148 PageID 116




                       CERTIFICATE OF INTERESTED PARTIES

      The undersigned counsel of record for Petitioner, ROBERT SPARKS,

certifies that the following listed persons have an interest in the outcome of this

case. These representations are made in order that this court may evaluate possible

disqualifications or recusal.

                                     Interested Parties
         Individual                       Address                     Participation
                                         Petitioner
Mr. Robert Sparks               Polunsky Unit                 Petitioner
Mr. Seth Kretzer                The Lyric Center              Appointed attorney for
                                440 Louisiana Street          current federal habeas
                                Suite 200
                                Houston, TX 77002
                                (713) 775-3050 (direct)
                                (713) 224-2815 (fax)
Mr. Jonathan Landers            Jonathan Landers              Appointed attorney for
                                2813 W. T.C. Jester           current federal habeas
                                Houston, Texas 77018
                                (713) 301-3153 – (phone)
                                (713) 685-5020 – (fax)
Mr. Paul Johnson                Mr. Paul Johnson              Trial Counsel
                                311 North Market Street;
                                #300
                                Dallas, TX 75202
Mr. Lalon “Clipper” Peale       Lalon “Clipper” Peale         Trial Counsel
                                901 Main Street, Suite 6300
                                Dallas, TX 75202


                                                3
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13           Page 4 of 148 PageID 117



                                 Interested Parties
         Individual                   Address                      Participation
Mr. David Richards         David Richards                  state writ lawyer
                           204 West Central Avenue
                           Ft. Worth, TX 76164
                           (817) 332-5567 (Phone)
Mr. John Tatum             990 South Sherman Street        State direct appellate lawyer
                           Richardson Texas 75081
                           (972) 705-9200




                                    Respondent
The Hon. Mr. Greg Abbott                                   Texas Attorney General
Mrs. Ellen Stewart-Klein   Office of the Attorney          Asst. Attorney General
                           General
                           Capital Litigation Division
                           P.O. Box 12548,
                           Capitol Station
                           Austin, TX 78711-2548
                           (512) 936-1600 (voice)
                           (512) 320-8132 (fax)
              Judges
Honorable Robert Francis   Criminal District Court No. 3   Trial Judge (Retired)
                           of Dallas County
                           Frank Crowley Courts Bldg.
                           133 N. Riverfront, 6th Fl.
                           Dallas, Texas 75207
Honorable Gracie Lewis     Criminal District Court No. 3   State Writ – District Court
                           of Dallas County                Judge
                           Frank Crowley Courts Bldg.
                           133 N. Riverfront, 6th Fl.
                           Dallas, Texas 75207


                                         4
  Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 5 of 148 PageID 118



                                    Interested Parties
         Individual                      Address                 Participation



                      DESIGNATION OF ABBREVIATIONS and
                      EXPLANATION OF THE TRIAL RECORD

      “RR” refers to reporter’s record from the state trial court. “CR” refers to

clerk’s record from state trial court.

                              STATEMENT OF JURISDICTION


      This petition is submitted pursuant to 28 U.S.C. § 2254 et. seq., and

amendments five, six, eight, and fourteen, of the United States Constitution, and

section nine, clause two of the United States Constitution (habeas corpus).




                                            5
    Case 3:12-cv-00469-N Document 19 Filed 06/10/13                           Page 6 of 148 PageID 119




                         SPARKS’S AEDPA DEADLINE WAS SATISFIED

         Sparks’s direct appeal to the Court of Criminal Appeals (CCA) was decided

on October 29, 2010. Sparks v. State, 2010 Tex. Crim. App. Unpub. LEXIS 629.

         Sparks’s state writ was filed on August 25, 2010.                              The state writ was

pending until December 14, 2011, when the CCA ruled. Ex parte Sparks, 2011

Tex. Crim. App. Unpub. LEXIS 919. Sparks’s AEDPA deadline was therefore

December 14, 2012. 28 U.S.C. 2244(d)(2); see also Fields v. Johnson, 159 F.3d

914, 916 (5th Cir. 1998).

         In its initial November 9 scheduling order, this Court ordered that,

“Petitioner shall file an original petition for writ of habeas corpus on or before

Friday, December 7, 2012, in accordance with the agreement of the parties to file a

‘skeletal’ petition.” (Doc. No. 8).

         Sparks filed his placeholder writ on December 7, Doc. No. 9, seven days

before his AEDPA deadline.

                                                 EXHAUSTION

         Sparks states that all but one of the federal constitutional claims alleged herein

have been exhausted in proceedings before the Texas courts. 1 The lone exception is a



1
 The burden is on Respondents to demonstrate that Sparks failed to exhaust a particular claim. See, e.g., Johnson v.
Zerbst, 304 U.S. 458, 464 (1938); Esslinger v. Davis, 44 F.3d 1515, 1528 (11th Cir. 1995); Herbst v. Scott, 42 F.3d
                                                         6
  Case 3:12-cv-00469-N Document 19 Filed 06/10/13                            Page 7 of 148 PageID 120


claim trained on the patently false testimony concerning prisoner classification by the

state’s expert, Mr. AP Merillat. Merillat was a state employee. Merillat was a state

employee and a member of the prosecution team. The State of Texas has never notified

Sparks that Merillat testified falsely in his case and had never attempted to correct this

false testimony. This false testimony impinged directly on the future dangerousness

issue, and was specifically relied upon by the jury. For that reason, Sparks is filing

contemporaneous with this writ an opposed Stay and Abey motion.

                                        Summary of Arguments

        The sanctity of the jury room was repeatedly and thoroughly violated in the

trial of Robert Sparks. Throughout trial, Sparks wore a stun belt. The operation of

this machine is through a remote controlled box held in the lap of the bailiff tasked.

During Sparks’s punishment phase, the assigned Bailiff, one Moorhead, wore a tie

with a hypodermic syringe sewn on it by his wife. When he testified at the habeas

evidentiary hearing, Moorehead admitted that he wore this tie to signal his support

for the death penalty, just as he had in other capital trials at which he had been

assigned guard duties.

        It would have been physically impossible for the jury not to have seen this

tie from their position vis-à-vis Moorehead: defense counsel saw it, discussed it


902, 905 (5th Cir. 1995); English v. United States, 42 F.3d 473, 477 (9th Cir. 1994); Brown v. Maass, 11 F.3d 914,
914-15 (9th Cir. 1993); Harmon v. Ryan, 959 F.2d 1457, 1461 (9th Cir. 1992).

                                                         7
  Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 8 of 148 PageID 121


with the judge at the bench, and was then instructed by the judge to tell Moorehead

to tuck his tie in his shirt.

       Audience members made numerous outbursts during trial.              The most

egregious example of which was when the father of the deceased rushed over the

railing and had to be removed by court security.    Unfortunately, the District Court

denied Sparks’s contemporaneous motion for mistrial.

       Sparks’ trial was also plagued by the testimony of A.P. Merillat, an

investigator employed by the State of Texas, and member of the prosecution team,

who presented blatantly false testimony concerning level of custody to which

Sparks’ would be assigned within the Texas Prison System. Merillat, who had no

formal training in this area, and who had never worked for TDCJ, testified that

Sparks would be classified to a G3 (medium) custody level if he was sentence to

life in prison. Merillat was adamant that no set of circumstances, or background

information, could possibly change this initial classification. He was testifying

falsely about all of this. The State of Texas has still not, to this day, brought this

evidence to Sparks’ attention or admitted the testimony was false. Had Merillat

not been identified for presenting false testimony in another Texas death penalty

case (which was reversed based on his testimony), it is entirely possible that this

false testimony would have remained undiscovered.

                                          8
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 9 of 148 PageID 122


      Merillat’s false testimony violated Sparks right against Cruel and Unusual

punishment, as well as his right to Due Process of Law.

      Sparks also renews his challenge to the jury selected in his case, and to the

repeated denials of his challenges for cause for jurors who were biased and could

not properly consider all the evidence in a death penalty case. Finally, Sparks

alleges that Texas death penalty scheme is unconstitutional.

                             PROCEDURAL HISTORY

      A.    Procedural History in State Court

      In the superseding indictment filed on September 30, 2008, Sparks was

charged in cause number F-00801020-VJ with intentionally and knowingly causing

the deaths of Raekwon Agnew and Harold Sublet, Jr., by stabbing and cutting them

with a knife, during the same criminal transaction. (C.R. Vol.1, p. 2;). Sparks was

arrested and held without bond. The State of Texas had previously given notice of

their intent to seek the death penalty. (C.R. Vol.1, p. 23).        Trial began on

December 2, 2008; on December 4th, the jury was charged, closing arguments were

delivered, and the jury convicted. (R.R. Vol 36, p. 1; R.R. Vol 38, p.17-32). The

punishment phase of trial began on December 8 and concluded on December 10.

(R.R. Vol 39, p. 1-R.R. Vol. 42, p. 259). On December 11, Sparks was sentenced




                                         9
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 10 of 148 PageID 123


to death upon the jury’s answers to the special issues. (R.R. Vol 42, p. 8; C.R. Vol.

2, p. 500).

      Sparks’s direct appeal to the Court of Criminal Appeals (CCA) was decided

on October 29, 2010. Sparks v. State, 2010 Tex. Crim. App. Unpub. LEXIS 629.

      Sparks’ state writ was filed on August 25, 2010. The state writ was pending

until December 14, 2011, when the CCA ruled. Ex parte Sparks, 2011 Tex. Crim.

App. Unpub. LEXIS 919.


      B.      Procedural History in Federal Court

      On February 14, 2012, Sparks filed a motion for appointment of counsel.

(Doc. No. 2). On March 27, this Court appointed Seth Kretzer as lead counsel.

(Doc. No. 3). On May 8, this Court granted Kretzer’s motion for appointment of

Jonathan Landers as co-counsel. (Doc. No. 4).

      Sparks filed his placeholder writ on December 7, Doc. No. 9, three days

before his AEDPA deadline.




                                         10
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 11 of 148 PageID 124


                               STATEMENT OF FACTS

                                   Introduction

      On September 15, 2007, murdered his wife, Chare Agnew, and his two

stepsons, Reaqwon Agnew and Harold Sublet, by stabbing them multiple times.

He also sexually assaulted his two step-daughters, Garysha and Lekenya.

Delusional, Sparks was convinced his family had been attempting to poison him.

Quite obviously, Sparks suffered from a severe mental illness at the time of the

murders.

                         The Crime and Its Apprehension

      During the early morning hours of September 15, 2007, Robert Sparks

stabbed and killed Chare Sparks, his wife of six months. 36 Ct. R. at 13. He then

stabbed Chare's two young sons, also killing them. Id. After killing the boys,

Sparks moved their bodies to the living room. 37 Ct. R. at 81. He then forced his

wife's two daughters to look at their dead brothers, tied them up, and sexually

assaulted them. 37 Ct. R. at 77 - 95; 46 Ct. R. at 96-119. He then forced the girls to

watch him bathe, had them each kiss their dead mother, and locked them in a

closet. 37 Ct. R. at 77- 95.

      Sparks then drove to his mother’s house, borrowed her car and drove to the

home of an ex-girlfriend, Shunta Alexander. 36 Ct. R. at 34-51. He confessed the

                                         11
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 12 of 148 PageID 125


killings to Alexander, called 911 to report the incident, gave his daughter Brianna

$100, and took a bus to Austin. Id. He returned to Dallas County two days later and

called a detective to request information before he turned himself in. 36 Ct. R. at

128-130.

      On September 18, 2007, Sparks was spotted in a red van by a police officer.

36 Ct. R. at 137-152. A wild and televised police chase ended in Sparks’ arrest. Id.

During the chase Sparks shot twice out of the moving vehicle’s window, and

eventually threw his gun out the window. Id.

Sparks confessed to police detectives and a news reporter at the arrest scene,

explaining that he believed Chare and the boys were poisoning him, and claimed

he made a tape of them confessing to that crime. 36 Ct. R. at 12 - 15.

      Sparks believed he was being poisoned by the victims and told everyone he

could, even the local news.

      Immediately after the murders Sparks went to see the mother of his only

child, Shunta Alexander. (36 Ct.R. at 34-52). Mrs. Alexander explains that Sparks

was crying, and not acting like himself. Id. He told her that he had just killed

Chare and the boys because they had been poisoning him. Id. He also believed

that Chare and the kids had been letting people in and out of the house while he

was asleep. Id. at 46. Mrs. Alexander convinced Sparks to call the police and

                                         12
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 13 of 148 PageID 126


report what he had done, he did. (36 Ct.R. at 29) (State Ex. 1). During the call he

explained that he had just killed his wife and step sons because they had been

putting “shit” in his food. Id. Sparks was not making sense in the call. Id. at 32.

After he left he Mrs. Alexander’s house he drove to a cousins house and got a ride

to the grey hound bus station where he bought a ticket to Austin.

      The next day, Sparks somehow directly called one of the detectives working

the murder scene, Detective Perez. (36 Ct.R. at 132-34). He wanted to know if the

police had found the recordings he had made prior to the murder, which he

believed would show that his family was conspiring against him. Id. The detective

had found the tapes, but the tapes did not show what Sparks expected, they were

closer to gibberish. Id. at 39; State Ex. 117.

      Three days after the murder the defendant was arrested after a twenty to

thirty car chase. Id. at 140-142. During the chase the defendant fired two shots in

the air before throwing his gun out of the window, and upon being apprehended

requested the police to “just shoot me.” Id.

      The local news channels got wind of the chase and captured it on video. Id.

at 150. Indeed, a Channel 8 reporter was lucky enough to ask Sparks a question

while he was being escorted by police to a waiting police car. Id. 159; States Ex.

59. She asked Sparks why he did it, once again he said his wife tried to poison him

                                          13
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 14 of 148 PageID 127


and the kids were involved. Id. Detective Raley explained that the news media

was heavily involved in both the investigation and manhunt of the case. Id. at 165.

Indeed, Cliff Caldwell, a news reporter for the Channel 11 news in Dallas, was

able to secure an early morning interview with Sparks the day after he was

arrested. (37 Ct.R. at 13-15). A tape of the interview was introduced into evidence

against Sparks, and was recorded before Sparks was appointed an attorney. Id.;

State Ex. 63. Caldwell explained that whichever station arrived at the jail first was

given the first interview. Id. Caldwell agreed that the defendant was not acting

rationally during the interview. Id. at 17.

      Sparks made a confession to police after he was apprehended. (States Ex.

60). He explained that a voice in his head told him to kill his wife. Id. He asked

that his step-daughter’s be given a polygraph to prove that he was being poisoned.

Id. He explained that he killed his wife because she had been poisoning him

recently.

      After the murders and the sexual assault, Sparks even told his step daughters

the reason he did what he did was because their mom had been poisoning him. (37

Ct.R. at 87-88).    The young lady was not surprised to hear this, presumably

because she had heard it before. Id. She confirmed that in the past Sparks had

accused the family of trying to gas him out, by leaving the gas stove on when they

                                          14
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 15 of 148 PageID 128


left the house. Id. at 99. In the past Sparks had screwed the windows shut so the

girls could not let people in to get him and had put tape recorders in the house. Id.

at 100. At one point in time, before the murders, one of the step daughters and

Sparks were watching a movie where a person was killed by poison. Id. at 102.

She remarked that if she were to kill someone, she would do it that way. Id. This

led Sparks to jump and tell her mom, Chare, that he found out the truth about being

poisoned. Id.

      Before his trial, Sparks insisted that he be tested for poison, and willingly

gave samples to be tested. (37 Ct.R. at 2-3). There was apparently no lab which

could test for the poison in Sparks’s body. This was not the first time that Sparks

had attempted to have himself tested to see if he was being poisoned. Before the

murders, he had visited the hospital because he wanted to have tests run to see if

poison was discovered. 36 Ct. R. at 193. This was verified by the police. Id. Dr.

Compton, a clinical and forensic psychologist, testified that she reviewed the

Defendant’s records from the Mesquite Community Hospital from December 24,

2006, which showed he went to the hospital claiming that he had a burning

sensation coming from the top of his head with nausea and other ailments (41 Ct.R.

at 19). She said the Defendant did not tell the people at the hospital that he was

poisoned because he wanted to see what they would find out. (41 Ct.R. at 19) She

                                         15
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 16 of 148 PageID 129


said all the tests were negative. (41 41 Ct.R. at 19) She said that the day before the

murders, he faxed a request to the hospital requesting a copy of the records be

immediately sent to him. (41 Ct.R. at 19) She said the reports also show that he

complained of numbness in his face and hands. (Vol. 41 Ct.R. 19).

      Sparks: Low Intelligence Combined With Palpable Mental Illness

      Even before he was captured, Sparks’s family members had warned the

authorities that they believed he had severe mental problems. (36 Ct.R. at 119-20).

His mom testified that Sparks had been a special education student when he

attended school. (39 Ct.R. at 100). She explained that after his father passed

away, she could no longer control him. Id. at 105-107. Eventually, at the age of

17, Sparks was sent to prison for 12 years, he served the entire sentence. When he

got out, he had changed. Id. at 105-113. He had become paranoid. Sounds from

the attic or the roof became people trying to get in the house to get him. Id. He

would crawl in the attic to investigate, and eventually nailed the attic door shut.

He would stay up drinking coffee and watching out of the windows. Id.

      Mrs. Alexander, the mother of his only child, explained that after he got out

of prison he had changed. (39 Ct.R. at 157-161). She thought he was crazy. Id.

When she first saw him after his release he was sitting on a couch rocking and

talking to himself. Id. He was friendly one minute and hated the world the next.

                                         16
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 17 of 148 PageID 130


Id. He thought people were watching him. Id. She eventually told his family that

he needed to see a psychiatrist. Id.

      Sparks, however, never saw a psychiatrist until after the murders. The

psychiatrist found what those around him thought they would. The Doctors found

that many of Sparks family members suffered from mental illness ranging from bi-

polar disorder to dementia. (39 Ct.R. at 152-56). Dr. Chefetz testified that Sparks

was psychotic, suffered from delusions, including persecutory delusions, and had

anti-social disorder. (40 Ct.R. at 190-94). Further he was suffering from these

issues at the time of the offense. Id. at 135.

      Dr. Compton testified that Sparks suffered specifically from schizoaffective

disorder and functioned at the level of a fourth or fifth grader when he left school

in the ninth grade. (41 Ct.R. at 10-11). She said his school records showed that for

a great period of time he failed everything and then went into special education.

(41 Ct.R. at 9). She said in the ninth grade, the last grade the Defendant attended

school, he was failing every subject with the exception of study hall. (Vol. Ct.R. at

10). She said the Test of Basic Skills showed that in vocabulary he was operating

on a fifth-grade level, in reading the middle-fifth grade level, and language at a

fourth-grade level, while he was in the ninth grade. (41 Ct.R. at 10).




                                           17
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 18 of 148 PageID 131


      She said she made two primary diagnoses on Mr. Sparks and found him to

be a schizo-affective type with an antisocial personality disorder. (Vol. 41 Ct.R. at

11). She said she made this diagnosis after interviewing him, his family members,

looking at documents and records. Id. She said Parkland Hospital had also

diagnosed him with schizo-effective disorder.        Id. She said schizo-affective

disorder meant a schizophrenic spectrum type of disorder which included

delusions, hallucinations and/or a flat affect. Id. at 12. The antisocial personality

disorder is an ingrained way of behaving and thinking which includes antisocial

acts and behaviors. Id.

      The witness testified that in December 2007 the Defendant attempted suicide

by trying to hang himself with a noose made out of socks. Id. at 14. She said he

was prescribed an antidepressant. Id. On February 11, 2008 his diagnosis was

changed to schizo-affective disorder, which was the diagnosis she independently

arrived at after her examination of the Defendant. Id. She said the schizo-affective

disorder symptoms of Robert Sparks were primarily ones of delusions. Id. at 15.

She said the delusions included being poisoned and there was a conspiracy to harm

him in jail. Id. She stated that he had auditory hallucinations and a flat affect in

which he did not show very much emotion. Id. at 15. She said the Defendant was

put on medications for depression and was given an antipsychotic medication. Id.

                                         18
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 19 of 148 PageID 132


at 16. She said that one of the Sparks’s main delusions was that his wife was

poisoning him.

      The witness stated that the delusion Sparks had about being poisoned was a

persistent delusion and over time he believed in the delusion more strongly. (41

Ct.R. at 21) She said he asked for his blood workup from the hospital so he could

verify that he was being poisoned. Id. She said he also had sexual delusions about

being accused of being a child molester. Id. at 22. She said he also believed there

were cameras installed in the bathroom. Id.

      The witness testified that the Defendant also possesses a paranoid

personality disorder which was evident when he thought he was being followed

and people were conspiring against him. Id. at 23. She said the schizo-affective

disorder is a recognized severe mental illness which affects a person’s everyday

actions, thoughts, emotions and functioning. Id. at 23-24. Sparks’s history of

antisocial acts at a young age, aggressive behavior, substance abuse and a lack of

empathy for other people were the main features of his antisocial personality

disorder. Id. at 24. Impulsivity was another feature of his personality. Id.

      The doctor believed Sparks suffered from both of these disorders at the time

of the offense. (RR: Vol. 41 p. 25) He had not been previously diagnosed with the

mental illness because he was unaware he was mentally ill. Id. She said he was

                                          19
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 20 of 148 PageID 133


also previously incarcerated for a large portion of time and that his paranoid and

aggressive behavior is lumped in with people with antisocial personality disorder.

Id. The doctor also believed the prison system does not have adequate mental

health professionals. Id. at 26.

      In short, Dr. Compton testified that she had no doubt that at the time of the

murders, the Sparks was suffering from the effects of a severe mental illness. (RR:

Vol. 41 p. 30).

                  The Blatantly False Testimony of A. P. Merillat

      The State of Texas, during its punishment presentation, presented the

testimony of A.P. Merillat, who presented himself as a “criminal investigator with

the special prosecution unit in Huntsville.” 39 Ct. R. at 8-36, 68-95, at 8. Merillat

was called as an expert witness to explain “the likelihood or opportunities to be

violent inside the penitentiary.” Id. at 8-9. Prior to Sparks’ case, Merillat had

testified falsely in at least two other capital cases, both have since been reversed on

the basis of his false testimony and new punishment hearings have been granted.

See Estrada v. State, 313 S.W.3d 274, 286 (Tex. Crim. App. 2010) cert. denied,

131 S. Ct. 905, 178 L. Ed. 2d 760 (U.S. 2011); Velez v. State, AP-76,051, 2012

WL 2130890 (Tex. Crim. App. 2012), reh’g denied (Sept. 12, 2012). Merillat also

testified falsely in Sparks’ case, and the jury relied upon his testimony in

                                          20
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 21 of 148 PageID 134


sentencing Sparks’ to death. It is not clear if the Prosecutors realized that Merillat

was creating his testimony from whole cloth.

      The state first gave notice of its intent to present the testimony of A.P.

Merillat in a witness list filed one month before the start of the trial. Cl. R. at 471-

73.   The list included dozens of potential witnesses and didn’t explain what

Merillat would testify to, however Merillat was designated as an expert witness.

Id. The defense objected to Merillat’s testimony during a vior dire examination

prior to his testimony in front of the jury. 39 Ct. R. at 8-36. Specifically, the

defense objected that Merillat could not testify as an expert on prison classification

as he had never been employed by the prison system, was not trained in the

classification process, and never worked on the classification board. Id. at 20. The

defense had apparently read portions of Merillat’s prior testimonies and argued that

his prior testimonies were “almost laughable” because they were not based on

factual evidence. Id. at 21-22. The defense explained that Merillat could not

possibly know where Sparks would end up in the prison system because the people

at the classification department themselves could not know until Sparks arrived; if

“Merillat has that information prior [to Spark’s arrival], then he must be a seer.”

Id. at 24. The trial court allowed Merillat to testify over objection. Id.




                                          21
    Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 22 of 148 PageID 135


        During his testimony Merillat explained that there are multiple classification

levels in Texas Prisons, and that a person convicted of capital murder and given

life without parole would be assigned to a level G-3 upon entering prison. Id. 70.

He was adamant that such a prisoner would enter at this level regardless of their

history for violence or prior convictions. Id. at 86-87. Merillat explained that if

Sparks were given a life sentence, he would be permitted to go to the mess hall

with other inmates, go the library with other inmates, go to school and medical

facilities, go to visitation, and that they could work outside the walls of the prison.

Id. at 76. Thus, there would opportunities for “violent acts to occur in the prison

system.” Id. at 77. Amazingly, Merillat also testified that those people working

for the TDCJ classification system have no formal training and simply learn on the

job. Id. at 74-75. All of this testimony was false.

        Frank Aubuchon, who worked over 26 years for TDCJ, in jobs with titles

such as Classification Case Manager, Chief of Unit Classification, Courtroom

Coordinator, Administrator for Unit Classification and Administrator for

Classification Operations, explains that Merillat testified falsely in an affidavit

prepared for this case. The affidavit is supported by documentation, and attached

as Appendix 1. In part, Aubuchon explains as follows:

•       39 Ct. R. at 70: Q: “Tell the members of the jury, Mr. Merillat,
        anyone sentenced to 50 years or up, which obviously includes a
                                          22
    Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 23 of 148 PageID 136


        capital murder life without parole, what is their automatic classification
        coming into the prison system?” A: “They’re automatically classified as
        what’s called a G3.” This is inaccurate in several ways. First, an offender
        on day one in the prison system does not yet have a determined custody
        level unless he is death sentenced, or if he is sentenced to life without parole,
        in which case he is classified as, at best, G3 or, ultimately, at the more
        restrictive G4 or G5 levels if required. See Exhibit B - TDCJ Unit
        Classification Procedure 2.00 and Attachment A. All non-death sentenced
        offenders are processed through the Reception and Diagnostic Process as
        described in the TDCJ Classification Plan. See Exhibit C TDCJ 2003
        Classification Plan pp. 35-55. This process, for a non-death sentenced
        offender takes 30 days to complete. See Exhibit D TDCJ Classification Plan
        page 17-18 at 18 II.A; Exhibit C Page 53 at I.A. Only then can the
        appropriate custody level be determined.

•       39 Ct. R. at 73: Q: “You’re telling the jury how a person’s classified by the
        Institutional Division of the Texas Department of Criminal Justice and you
        don’t work there. Have you ever received any formal training whatsoever in
        classification process at TC – or Texas Criminal Department, Institutional
        Division? “ A: “Yes, sir. I have been given the same training in the area of
        classification that classification employees receive. Which they don’t have
        schools for classification. There’s a manual. You learn – so to speak, on the
        job. You learn by doing the classification process. I have the classification
        manual with me.” This answer is also incorrect. From 1992 until my
        retirement in 2007 I was involved in the process of training both
        Classification Case managers and Chief’s of Unit Classification. TDCJ did
        then and still does today have a formal training process for newly promoted
        classification staff in addition to annual training seminars for Classification
        Chiefs. Since Mr. Merillat was NEVER an employee of TDCJ involved in
        the classification processes he would have never had the opportunity for any
        formal training.

•       39 Ct. R. at 74: Q: “Certainly anybody that works in the system has many
        opportunities and undergo rigorous training to be employed there and
        undertake the things you learn to do on your own; is that correct?” A:
        “That’s not correct.” Again, Mr. Merillat is incorrect in his response. All
        unit based classification staff is required to attend and successfully complete
        the TDCJ Pre-Service Training Academy, Annual In-Service Training, and
                                           23
    Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 24 of 148 PageID 137


        New Case Manager Training.         In addition there is annual training for
        Classification Chiefs.

•       39 Ct. R. at 85: Q: “You said that anybody convicted and given a sentence
        over 50 years in the penitentiary would automatically be a G-3 inmate; is
        that correct? “ A: “That’s correct.” In fact that is not correct. The TDCJ
        Classification Plan describes the classification characteristics of G3 custody.
        An offender must fit those characteristics to be assigned to G3 custody.
        Those characteristics include having no pattern of recent in-prison assaultive
        behavior or other disciplinary convictions resulting in major penalties in the
        preceding six months and otherwise having “No requirement for a more
        restrictive custody.” Moreover, any inmate with a sufficiently bad
        disciplinary record or other negative characteristics, with a poor disciplinary
        record, could be assigned to more restrictive custody, at the G4 or G5 levels.
        See Exhibit E TDCJ Classification Plan at p. 73-86. Had the witness
        reviewed the prison and jail disciplinary records of the defendant he would
        have seen that the defendant had an extensive history of in-custody
        disruptive and violent acts. This history would be taken into account when
        determining an initial custody level for Sparks upon his admission to TDCJ.
        See Exhibit B - TDCJ Unit Classification Procedure 2.00 and Attachment A.

•       39 Ct. R. at 86: Q: “ But as I just pointed out, sir, whether or not you’re
        classified, the minimum classification for a person is G-3 and can go all the
        way up to an automatic classification of ad seg right off the bat, couldn’t it?
        That’s yes or no sir. Right or wrong?” A: “You’re wrong”. In fact that is
        not correct. The TDCJ Classification Plan describes the classification
        characteristics of G3 custody. An offender must fit those characteristics to
        be assigned to G3 custody. Those characteristics include having no pattern
        of recent in-prison assaultive behavior or other disciplinary convictions
        resulting in major penalties in the preceding six months and otherwise
        having “No requirement for a more restrictive custody.” Moreover, any
        inmate with a sufficiently bad disciplinary record or other negative
        characteristics, with a poor disciplinary record, could be assigned to more
        restrictive custody, at the G4 or G5 levels. See Exhibit E TDCJ
        Classification Plan at p. 73-86. Had the witness reviewed the prison and jail
        disciplinary records of the defendant he would have seen that the defendant
        had an extensive history of in-custody disruptive and violent acts. This
        history would be taken into account when determining an initial custody
                                           24
    Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 25 of 148 PageID 138


        level for Sparks upon his admission to TDCJ. See Exhibit B - TDCJ Unit
        Classification Procedure 2.00 and Attachment A.

•       39 Ct. R. at 87 Q: “So your testimony while ago what I called throwing a
        skunk over there, you’re basically saying is we know what the minimum is,
        but we have no idea what it’s actually gonna be for Robert Sparks. That’s
        what you’re basically saying, isn’t it?” A: “No, you’re wrong.”             As
        illustrated above in the responses in #6 and #7 the attorney is in fact correct
        and the witness is incorrect. G3 custody is the least restrictive custody that
        Sparks would be eligible for but he could easily be assigned to a more
        restrictive custody based on his prior institutional history. See Exhibit B -
        TDCJ Unit Classification Procedure 2.00 and Attachment A.

        Aubochon’s affidavit makes it clear, Merillat either had no idea what he was

talking about, or possibly, was actively lying on the stand.

        What makes this situation more disturbing is the fact that the jury almost

certainly relied upon this testimony in sentencing sparks to death. In their final

two notes sent to the judge before returning with the punishment verdict, the jury

specifically requested to view Merillat’s testimony related to “what classification

the defendant would have in prison if he was sentenced to life without parole.” Cl.

R. at 489. The judge provided the jury with Merillat’s false testimony explaining

that Sparks would be classified at the G-3 Level. Id. at 490-94. This note was sent

to the judge at 7:59 pm, on December 10, 2008. Id. at 495. By 10:36 am the next

morning Sparks would be sentenced to death. Aubuchon explains the answer to

the jury’s questions was incorrect:


                                           25
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 26 of 148 PageID 139


      •     During deliberations, the jury had two questions pertaining to Mr.
      Merillat’s testimony. 1: “The jury has a conflict regarding the substance of
      Mr. Merillat’s testimony pertaining to what restrictions are on a G3
      prisoner? “ 2: “If sentenced to a life sentence without parole, what would he
      be classified as?” In response, the jury was provided with two excerpts of
      testimony given by Mr. Merillat. As outlined in my point’s #3-#8 above the
      testimony given by the witness was both misleading and incorrect.
      Therefore the jury based their decision on incorrect information. Cl. R. at
      489-495.

      Evidence presented at trial showed that Sparks had a prior violent felony

conviction for Aggravated Robbery with a Deadly Weapon. State’s Exhibit 100

(TDCJ Records from the prior prison trip which include judgment). The evidence

shows that Sparks had a lengthy history of violence in jail. Id. According to the

records Sparks had served the full term of his prior 12 year sentence and picked up

violation in prison for things such as sodomy, failure to obey orders, and

masturbation in public. 39 Ct. R. at 50. The state also put on the testimony of

Charles Maloney, a career criminal who spent time with Sparks in the pen. 39 Ct.

R. 96-124. Maloney testified that Sparks was the leader of gang that forced people

to prove themselves by fighting. Id. at 99. He explained that Sparks had beaten

him up and was a good fighter. Id. at 99-100. After the initial beat down Sparks

sexually assaulted Maloney on multiple occasions. Id. at 101. “It was either that

way or get beat up.” Id. As Aubuchon explains in his affidavit, “any inmate with

a sufficiently bad disciplinary record or other negative characteristics, with a poor

                                         26
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 27 of 148 PageID 140


disciplinary record, could be assigned to more restrictive custody, at G3 or G5

levels.” Appendix 1, affidavit point 6 (citing TDCJ classification plan at p. 73-86).

G5 is of course the maximum custody level available. The truth is it is entirely

possible that Sparks would have immediately been assigned to G5 had he been

given life in prison.

       Sparks’s Trial Was Thoroughly Contaminated With Outside Influences

       The State of Texas puts its prisoners convicted of the death penalty to death

by lethal injection. The colloquialism for such a death is “getting the needle.” One

of the Bailiffs assigned to Sparks’s case was Bobby Zoe Moorehead.               He

apparently believed that Sparks should get the needle, and decided to express his

belief by wearing a black tie with a white syringe on the day that the jury would

begin their punishment deliberations. See State Writ Hearing Cl. R. at 81 (State’s

exhibit C (news paper article)); 82 (Picture of Moorehead with the tie); 83 (close

up of the tie).




                                         27
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 28 of 148 PageID 141




      On the day he wore this tie, the bailiff was seated directly behind the Sparks,

within the juries view, operating a stun belt that was securely attached to Spark’s

person.   State Writ Hearing Ct. R. at 20-25; 40-45. This same bailiff would have

been well known to the jurors in this case because he had been responsible for

shepherding the jurors to and from the court room during the guilt innocence phase

of the trial. 36 Ct. R. at 13, 66, 96; 37 Ct. R. at 53; 149, 155.

      This issue was brought up during the state writ of habeas corpus. In that

proceeding, Perstephanie Sparks, Sparks’ sister, swore in an affidavit that she was

present on December 10, 2008, for the final day of testimony in her brother’s trial.

State Writ Hearing Cl. R.at 29. She explains as follows:



                                           28
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 29 of 148 PageID 142




Id. The news article Perstephanie refers to was included in the state writ file, and

the opening passage of the article precisely explains the mood inside the court

room on the final day of the punishment hearing:




Id. at 32.

       Bobby Moorehead testified at the state writ hearing. At the hearing he

produced the tie in question, which was introduced into evidence as Defendant’s
                                        29
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 30 of 148 PageID 143


Exhibit 1.   Writ Ct. R. at 15-16.       He had purchased the tie at a store, and

“instructed his wife to get a needle emblazoned on it.” Id. at 17. He wore black tie

with all black shoes and a black shirt, with a black jacket, and with the jacket open.

Id. at 18. At one point he admitted to the state and defense that he wore the tie to

show his support for the death penalty. Id at 18.

      The testimony at the hearing was that Moorehead wore his tie outside of his

clothing for the first two hours of the day on December 10, until the defense

counsel instructed him to tuck it into his shirt. Id. at 18-20. At that point, he did as

he was instructed and tucked the tie into the shirt. Id. According to the defense

counsel, Moorehead wore the tie outside his shirt until closing arguments were

taking place, when an individual from the gallery attempted to rush the defendant.

. at 83-84. This meshes with the testimony of Perstephanie Sparks at the hearing.

Id. at 101; See also 41 Ct. R. at 88-89 (showing that the individual from the

audience rushed the forward in the court room well into the proceedings on

December 10, 2008, when the jury was present.)

      Moorehead was sitting behind the defendant during this time period, in a

chair merely ten yards (less than 30 feet) from the jury booth. Writ Ct. R. at 41-47.

      There is no record of the defense discussing Moorehead’s tie with the judge,

but lead trial counsel did explain that he made an objection to the tie during a side

                                          30
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 31 of 148 PageID 144


bar with the judge, off the record. Id. at 56. Trial counsel did not put his objection

on the record because “[i]t wasn’t something that [he] felt was necessary to make a

judicial process out of because [he didn’t] think it had an impact on the trial at all.”

Id. at 60. He did not think it was problematic, and thought that Moorehead

showing his support for the death penalty was “equivalent with a baby crying in

the court room.” Id. at 62-63. He did not feel a bailiff was really a court official.

Id. at 65.

       In his state writ Sparks raised two grounds for relief: 1) that his

constitutional rights had been violated by the bailiff’s wearing of the neck tie, and

2) that in the alternative trial counsel was ineffective for failing to object on the

record. State Writ Hearing Cl. R. at 11.

       The Dallas District Court Judge ruled that although Bailiff Morehead had

worn the tie to show his support for the death penalty and in spite of the fact that

Moorehead had worn the tie for a couple of hours in the jury’s presence that Sparks

“failed to present any evidence proving that any juror considered Mooreheads

necktie during deliberations.” Id. at 158. The court also pointed out that the

“applicant failed to present any evidence from any juror regarding this issue.” Id.

The court found that trial counsel “made a strategic decision not to object to

Moorehead’s necktie on the record.” Id. at 159.

                                           31
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 32 of 148 PageID 145


      Other strange happenings took place in Sparks’s case. A media frenzy

surrounded the trial.    Additionally, there were multiple outbursts from the

audience, one in which a victim’s father attempted to attack Sparks in front of the

jury during the closing arguments on punishment. (41 Ct. R. at 88-89); see also

State’s Exhibit B From the writ hearing, “Dallas DNA” DVD (showing one

victim’s father rushing at the defendant during guilt and innocence). At one point,

a large hack saw blade was found in the gallery, prompting the court room to be

cleared and metal detectors to be placed at the court room doors. 40 C.Tr. 40).

And of course, throughout the trial Sparks was shackled and wearing a stun belt

(operated at times by none other than Bailiff Moorehead of necktie fame).

      The defense objected after the victim’s father rushed Sparks in front of the

jury by moving for a mistrial. This was the second time that the boy’s father had

disrupted the trial, and the defense requested a mistrial. 41 Ct. R. at 89-92. The

mistrial was based on the belief that the defendant had been prejudiced in the eyes

of the jury. Id. The mistrial was denied.




                                        32
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13            Page 33 of 148 PageID 146


       GENERAL DISCUSSION OF CAPITAL PUNISHMENT LAW IN TEXAS

       The following is an overview of capital punishment law in Texas. This

summary is provided simply as a general guide; not all capital murder trials follow

this pattern.

       The Texas Legislature has designated certain types of murders as eligible for

the death penalty.      To warrant the death penalty, the defendant must have

committed another serious crime in addition to committing a murder. For instance,

kidnaping and then killing a person is a capital offense. So is killing two people,

rather than one, which happened in the present case.

       In recent years, once a person is indicted for capital murder and the State

decides to pursue the death penalty, the defendant is assigned two attorneys. One

of the lawyers is the lead attorney; the other is the second chair attorney. Both

attorneys are charged with investigating the case, filing motions, selecting the jury,

and arguing as forcefully as possible for a not guilty verdict or a lesser conviction

than capital murder, or if all else fails, for a life sentence.

       The district attorney’s office will equally prepare, usually assigning two,

sometimes three, prosecutors to the case, along with one or two investigators and

paralegals.




                                            33
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 34 of 148 PageID 147


      Lawyers for the defendant will usually file a large number of pretrial

motions. The reason for this is because the state and federal law requires all issues

raised on appeal to be first presented to the trial judge.              Death penalty

jurisprudence is thick with constitutional and statutory issues.         All unsettled

challenges to death penalty procedures must be raised. Failure to do so means that

the issues are waived for direct appeal. Moreover, because the Supreme Court has

insisted that effective assistance of counsel requires attorneys who are

knowledgeable about death penalty litigation, the failure of trial lawyers to raise

important issues at trial for later review on appeal can lead accusations that the trial

lawyers were ineffective.

      In a capital case, the trial judge will hold several pretrial hearings on

motions by the State and defense. The judge will address motions to suppress,

constitutional challenges, and hearings on the qualifications of experts.          Any

defense requests denied by the judge are preserved for appeal.

      Texas adheres to individual voir dire of potential jurors. Generally, a large

number of veniremen are summoned to the courthouse, around 600 or 700. Many

jurors exercise certain allowable rights not to serve; others cannot be found. On

appearance day, about 300 jurors or so will show.




                                          34
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 35 of 148 PageID 148


      The trial judge will perform the initial qualification of the jury panel. Either

side may ask for the jury to be shuffled at this point. Jurors will be seated

randomly in numerical order. Beginning with juror number one, the first twelve

jurors who are not struck or removed for cause will constitute the jury.

      The judge will screen out those who cannot speak and write English, who

have felony or moral turpitude convictions, and those who are entitled to legitimate

legal exemptions from service. In addition, the judge will hear explanations about

physical disability, business conflicts, general biases, or other personal issues

which might disqualify a juror. The judge may excuse some jurors but not others.

At this stage, the attorneys for both sides have minimal input, other than a few

questions for individual jurors called to the bench. Frequently, the lawyers for

both sides will agree to excuse a juror for some reason. There is a certain Texas

statutory provision which allows lawyers on both sides to agree to excuse a juror.

      Qualifying the jury to this point is a difficult day-long affair. Once the

venire is qualified for general jury service, they are scheduled for individual voir

dire examination. Generally in groups of five to ten, they are instructed to return to

court over the next three to four weeks, for individual questioning about their

views on the death penalty.




                                         35
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 36 of 148 PageID 149


      When each juror arrives on his designated day, each side is generally

allowed approximately forty-five minutes to question the juror. After the juror

leaves, each side is permitted to challenge for cause. If granted, the juror is finally

excused and deleted from the pool. If challenges for cause are denied, the juror

remains in the pool and subject to a peremptory challenge or to become part of the

twelve-member petit jury.

      There are two methods in Texas for permitting peremptory challenges. For

many years, judges required peremptory challenges to be exercised immediately

after the juror is questioned individually and challenges for cause denied. This is

sometimes called the sequential method of selecting the jury. The State goes first.

If the State strikes the juror, the juror is gone. If the State declines to strike the

juror, then the right passes to the defense. If the defense strikes the juror, the juror

is eliminated. If the defense does not strike the juror, then the juror joins the

twelve-member petit jury. This process is repeated until twelve jurors and two

alternates are seated. Each side has ten peremptory challenges. This form of jury

selection was used in Sparks’ trial.

      Once the jury is selected and sworn, trial proceeds in the usual fashion. If

the defendant is found guilty of capital murder, the sentencing phase begins. In

response to the Supreme Court’s insistence that the jury decision-making process

                                          36
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13            Page 37 of 148 PageID 150


be guided, Texas has constructed three questions, called special issues.          The

questions have varied over the years. In Spark’s case, only two questions were

asked: the future dangerousness question and the mitigation question.

      The method of answering the special issues is complicated. If the jurors

unanimously answer both questions in the State’s favor, as they did here, then the

judge sentences the defendant to death automatically.            If the jurors answer

unanimously any one of the questions in the defendant’s favor, then the judge will

sentence the defendant to life in prison.

      Jurors are also told that in order to answer any special issue in the

defendant’s favor, at least ten of the jurors must agree.

      The jurors are not told certain outcomes. It is possible that the jurors might

fail to agree unanimously on the answer in the State’s favor to any special issue. If

this occurs, then the defendant is sentenced automatically to life in prison. There is

no retrial. Unlike in any non-capital case, a hung jury does not result in a retrial in

the sentencing phase of a capital case. The result is always either a life sentence or

a death sentence. Jurors, however, are not told this.

      As a corollary, jurors are also not told that a single juror can decide in favor

of a life sentence. Unanimity is required for a death sentence. A life sentence is

the result otherwise, the result of a single juror’s decision.

                                            37
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 38 of 148 PageID 151


      Moreover, jurors are not told what occurs if fewer than twelve jurors agree

on an answer to a special issue in the State’s favor, but fewer than ten jurors agree

on an answer in the defendant’s favor. Again, the answer is that the defendant

receives an automatic life sentence.

      Once the judge pronounces the death sentence and signs the judgment,

appeal is automatic to the Texas Court of Criminal Appeals (“CCA”). At the same

time that the trial judge appoints an appellate lawyer, the judge will also appoint an

attorney to file the defendant’s state article 11.071 application for state writ of

habeas corpus. The state writ must be filed shortly after the state direct appeal

brief is filed, before the CCA decides the appeal. If the direct appeal is affirmed,

the defendant has the right to appeal to the United States Supreme Court. Once the

CCA denies the direct appeal and the state writ application, the inmate must

proceed to federal district court.




                                         38
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                   Page 39 of 148 PageID 152


                              ARGUMENT AND AUTHORITIES


                                  Overview of Claims for Relief

                                            Claim One

Sparks’s right to an impartial jury guaranteed under the Sixth, Eighth, and Fourteenth
Amendments to the U.S. Constitution was violated at the punishment phase of the trial when a
court official, a bailiff, in the presence of the jury, wore as part of his uniform, a necktie bearing
the image of a hypodermic syringe seeping liquid showing his support for the death penalty. P.
41.

                                            Claim Two

This Claim has been omitted as it has no bearing on the outcome of this Federal Writ.

                                           Claim Three

Sparks’s right to an impartial jury guaranteed under the Sixth, Eighth, and Fourteenth
Amendments to the U.S. Constitution were violated when the trial court refused to grant a
mistrial in spite of repeated instances of misconduct by bystanders which took place within the
view of the jury. P. 57.


                                            Claim Four

Sparks’s right to an impartial jury guaranteed by the Sixth, Eighth, and Fourteenth Amendments
to the U.S. Constitution were violated based on the combined effects of the actions of the bailiff
and the bystanders as well as the overall atmosphere surrounding his trial. P. 61.


                                            Claim Five

Sparks’s Eighth Amendment and Due Process rights were violated when the State’s expert
witness, A.P. Merillat, testified to materially inaccurate evidence at the punishment stage of
Sparks’ trial. P. 64

                                             Claim Six

The state trial court violated Sparks’s Sixth and Fourteenth Amendment rights to an impartial
jury and due process by denying his challenge for cause to numerous jurors specifically named in
the direct state appeal. P. 97.


                                                 39
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                   Page 40 of 148 PageID 153


                                           Claim Seven

        The Texas death penalty scheme violates the Sixth, Eighth, and Fourteenth Amendments
to the United States Constitution by not requiring the state to prove aggravating factors relevant
to the mitigation special issue beyond a reasonable doubt before the jury may sentence the
defendant to death. P. 124.

                                           Claim Eight.

       The Texas 12-10 Rule, and the law prohibiting jurors from being informed that their
individual vote that life is the proper sentence will lead to a life sentence, violates the Eighth and
Fourteenth Amendment as construed by Mills v. Maryland and McKoy v. North Carolina. P. 137

                                Claims Nine through Eleven

Claims eight to eleven from the Initial Skeletal Petition raise contentions of
ineffective assistance of counsel at the various stages of Spark’s case and have
been addressed in the foregoing sections.




                                                 40
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 41 of 148 PageID 154



                               DETAILED ARGUMENTS

I.   CLAIM ONE: SIXTH AND FOURTH AMENDMENTS WERE VIOLATED BY THE
     BAILIFF WEARING A TIE WITH THE SYRINGE ON IT

                    Attorney: Well, why is it that you
                    wanted to? What was your motive in
                    wearing the tie that day?

                    Bailiff Moorehead: I wanted to wear it.
                    Writ Ct. R. at18.


     Sparks’s right to an impartial jury guaranteed under the Sixth and Fourteenth
     Amendments to the U.S. Constitution was violated at the punishment phase
     of the trial when a court official, a bailiff, in the presence of the jury, wore as
     part of his uniform, a necktie bearing the image of a hypodermic
     syringe seeping liquid showing his support for the death penalty.




                                         41
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 42 of 148 PageID 155




This claim was raised as point of error number one in the state Writ of Habeas
Corpus.


                                 INTRODUCTION

      The State of Texas puts its prisoners convicted of the death penalty to death

by lethal injection. Those who support the death penalty for a certain person often

remark that they should “get the needle.” One of the Bailiffs assigned to Sparks’s

case was Bobby Zoe Moorehead. Moorehead apparently believed that Sparks
                                        42
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 43 of 148 PageID 156


should “get the needle”, and decided to express his belief by wearing a black tie

with a white syringe on the day that the jury would begin their punishment

deliberations. On the day he wore this tie, Moorehead was seated directly behind

Sparks, within the plain view of the jurors, operating a stun belt that was securely

attached to Spark’s person. Moorehead was well known to the jurors in this case

because he had been responsible for shepherding the jurors to and from the court

room during the guilt innocence phase of the trial.


      A.     Core Legal Inquiry Concerning External Influences: Did
             The Intrusion Affect the Jury’s Deliberation and
             Thereby Its Verdict?

      For over a century, the Supreme Court has held that “Private

communications, possibly prejudicial, between jurors and third persons…are

absolutely forbidden and invalidate the verdict at least unless their harmlessness is

made to appear.” Mattox v. United States, 146 U.S. 140, 150 (1892). In United

States v. Olano, the defendant claimed prejudice when the trial court permitted

alternate jurors to sit in on deliberations, but instructed them not to participate. The

Court summarized what it termed its “intrusion jurisprudence” and concluded:

             There may be cases where an intrusion should be presumed
      prejudicial, but a presumption of prejudice as opposed to a specific
      analysis does not change the ultimate inquiry: Did the intrusion affect
      the jury’s deliberations and    thereby its verdict?

                                          43
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 44 of 148 PageID 157


507 U.S. 725, 739 (1993).

      In Stockton v. Virginia, the Fourth Circuit found a restaurant owner’s

comment to jurors during a capital sentencing phase that “they ought to fry the

son-of-a-bitch” harmful and requiring retrial. 852 F.2d 740 (4th Cir.1988) (“The

fact that there was here no threat or inducement, no invasion of the sanctity of jury

room deliberations, does not still the sense that something went awry.”).

      B.     Second Line of Legal Inquiry Trains on the Interactions
             Between the Bailiff and His Jurors


      The hallmark Supreme Court case on the subject of bailiffs as witnesses is

Turner v. Louisiana, 379 U.S. 466 (1965). Two deputy sheriffs oversaw the

sequestered jury. As part of their duties, the deputies “ate with them, conversed

with them, and did errands for them,” although there was no evidence that the

deputies spoke with the jurors about the case itself. Id. at 468. These same deputies

also served as the prosecution’s principal witnesses. Id. The Court held that the

deputies’ external contact with the jurors “subvert[ed] the[] basic guarantees of

trial by jury.” Id. at 473. See also Yelton v. State, 50 Ala. App. 168 (Ala. Crim.

App. 1973) (reversing conviction for first-degree murder and remanding for new

trial because of an improper communication by a sheriff who was the custodian of

the jury during a mealtime with some of the jurors.).


                                         44
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 45 of 148 PageID 158


      The law is even more severe when the bailiffs do not testify at a trial, but

engage in ex parte communications with the jurors. In Parker v. Gladden, the

Supreme Court reversed when a bailiff stated to sequestered jurors on one occasion

that the defendant was a “wicked fellow” who was guilty. 385 U.S. at 363-64

(1966). The trial court had found the comments prejudicial and that they had

affected the defendant’s rights. The state appellate court had reversed the trial

court, finding that the defendant’s constitutional rights had not been violated. The

Supreme Court reversed the appellate court, finding a violation of the Sixth

Amendment right to trial by an impartial jury and the defendant's right to confront

the witnesses against him.

      In so ruling, the Court found controlling:

      the fact that the official character of the bailiff -- as an officer of the
      court as      well as the State -- beyond question carries great weight
      with a jury which he had been shepherding for eight days and nights.

      Aside from this, we believe that the unauthorized conduct of the
      bailiff      ‘involves such a probability that prejudice will result that
      it is deemed inherently lacking in due process.’

379 U.S. 466 (citation omitted).

      See also Miles v. State, 602 P.2d 227 (Okl.Cr.1979) (holding that reversible

error existed where the bailiff dissuaded the jury from making a recommendation

for leniency which the jury wanted to make); Logan City v. Carlsen, 799 P.2d 224

                                          45
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 46 of 148 PageID 159


(Utah Ct. App. 1990) (district court erred in denying mistrial after bailiff had

conversation with jurors in which bailiff explained courts’ sentencing powers).

      C.     Bailiff Moorehead’s Conduct Bridges The Gap Between
             Turner and Parker


      The conduct of Bailiff Moorehead was sufficiently egregious as to touch on

both Turner-error and Parker-error. Like Parker, Moorehead’s           tie     clearly

communicated to the jury his belief that Sparks was a “wicked fellow” who

deserved the death penalty. Like Turner, Moorehead         may not have spoken

with the jurors about the case itself, but his blatant external non-verbal

communication with the jurors “subverted the basic guarantees of trial by jury.”

      D.     Prejudice is Presumed

      The Supreme Court has long held that some state procedures are so

inherently prejudicial that no alternative rationale could possibly be established:

      It is true that in most cases involving claims of due process
      deprivations      we require a showing of identifiable prejudice to
      the accused. Nevertheless, at times a procedure employed by the State
      involves such a   probability that prejudice will result that it is
      deemed inherently lacking        in due process.

Estes v. Texas, 381 U.S. 532, 542-543 (1965).

      E.     Findings of Fact and Conclusions of Law

      Judge Lewis’s Findings of Fact and Conclusions of Law declared:


                                          46
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 47 of 148 PageID 160


      6.   The necktie was custom-made by the bailiff’s wife at his direction and
           was intended by the bailiff to show his support for the death
           penalty.
      (emphasis added).

      7.     Moorehead has worn the necktie during other Capital Murder cases in
             which he has served and has never been reprimanded by his
             supervisors.

      8.     The Court finds that Moorehead was not the bailiff in charge of the
             jury on the day he wore the said necktie, but was seated directly
             behind the Defendant operating the remotely activated custody control
             device.

      9.     The Court finds that, following an unrecorded sidebar with the trial
             court, defense counsel Paul Johnson advised Moorehead that the
             Court wanted Moorehead to tuck his necktie into his shirt.

      10.    The Court finds that Moorehead tucked his necktie and the
             hypodermic syringe embroidered on the necktie was concealed from
             view.
             (emphasis added)

      F.     Unreasonable Determination of the Facts

             1.    Unreasonableness is A Function of the Physical
                   Impossibility Surrounding Moorehead’s Situation
                   Viz-A-Viz the Jury’s Seating in the Courtroom

      Section 2254(d)(2) provides that a petitioner is entitled to relief if the state

court’s determinations of fact are unreasonable. Such unreasonableness is manifest

in this case because the conclusion cannot possibly follow from the premises listed

in FFCL Paragraphs 6-10. “Only when testimony is so unbelievable on its face

that it defies physical law should the court intervene and declare it incredible as a
                                         47
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 48 of 148 PageID 161


matter of law.” United States v. Lindell, 881 F.2d 1313, 28 Fed. R. Evid. Serv.

1164 (5th Cir. 1989). Simply put, it was physically impossible for the jury NOT to

have seen the needle on Moorehead’s tie.




             2.    Unreasonableness is Demonstrated By The Internal
                   Inconsistencies in the Findings of Fact and Conclusions of
                   Law

      While Sparks certainly agrees that Moorehead’s tie “was intended by the

bailiff to show his support for the death penalty” (¶6) and that trial judge advise

“Moorehead to tuck his necktie into his shirt”, (¶9), he respectfully submits that it

is physically impossible for the jury not to have seen this tie since Moorehead “was


                                         48
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 49 of 148 PageID 162


seated directly behind the Defendant operating the remotely activated custody

control device.” (¶8).

             3.    The Tie Was Both Objectively and Subjectively
                   Communicative in Nature

       Moorehead’s tie “was intended by the bailiff to show his support for the

death penalty.” (¶6). The fact that “Moorehead has worn the necktie during other

Capital Murder cases in which he has served and has never been reprimanded by

his supervisors”, id. at ¶7, can only establish that Moorehead’s desire to “show his

support for the death penalty” is deliberately targeted to jurors in death penalty

cases (rather than in some other more global or general sense).           Moreover,

Moorehead did not wear the tie during the guilt/innocence phase, but rather waited

until thethe day the jury would start deliberating on punishment.

       Q:    Well, why is it that you wanted to? What was your motive in wearing
             the tie that day?
      A:     I wanted to wear it.
Writ Ct. R. at18.

       Q:    You support the death penalty?
       A:    Certainly, I do.

       Q:    And as a bailiff, you understood that the jury had a decision to make
             with regard to the special issues in the case as to whether or not the
             defendant would live or die.
       A:    Yes, I did. I was aware of that.

Id. at 20.

                                         49
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 50 of 148 PageID 163


        Q:    How many cases have you worn that tie in?
        A:    I don’t know how many cases, Counselor.

Id. at 36.

        Moreover, Moorehead had interacted with the jurors in Sparks’s trial at

earlier points when he was occupied with responsibilities other than working the

stun belt:

        Q:    Would you be surprised if the record reflects that you did help out
              with the jury at some points during trial?
        A:    I would not be surprised; I just don’t remember that.

Id. at 28 (questioning by State on cross-examination).

              4.    The Jurors Must Have Seen The Tie Because Several Other
                    People in the Courtroom Saw The Tie

        The fact that 1) Defense Counsel Paul Johnson saw the tie and 2) the trial

judge saw the tie necessarily yields the conclusion that 3) the jurors saw the tie

because the judge and the defense counsel were necessarily looking in different

directions (i.e., at each other). If two people looking in opposite directions see an

object, it is impossible for a third person (looking at the other two) not to see it,

also.

        The district court concluded that “the necktie was concealed from view.”

FFCL; ¶10). Implicit in this finding is an unstated conclusion that the members of




                                          50
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 51 of 148 PageID 164


the jury never saw the tie, or that the tie was tucked away from view while the jury

was present. This is not what the evidence presented to the state court established.

      The testimony at the hearing was that Moorehead wore his tie outside of his

clothing for the first two hours of the day on December 10, until the defense

counsel instructed him to tuck it into his shirt at the presiding judge’s direction.

Writ Ct. R. at18-20. At that point, Moorehead did as he was instructed and tucked

the tie into the shirt. Id. According to the defense counsel, Moorehead wore the

tie outside his shirt until closing arguments were taking place, when an individual

from the gallery attempted to rush the defendant. Id. at 83-84. This meshes with

the testimony of Perstephanie Sparks at the hearing. Id. at 101; See also 41 Ct. R.

at 88-89 (showing that the individual from the audience rushed the forward in the

court room well into the proceedings on December 10, 2008, when the jury was

present.) A review of the trial record for the final day of the trial shows that

closing arguments came only after the defense presented their final witness, Dr.

Kristi Compton, meaning that the tie was visible throughout Compton’s testimony.

41 Ct. R. at 1-78. The jury was of course present for the Dr. Compton’s testimony.

Id.

             5.    The Jurors Must Have Seen The Tie Because Moorehead
                   Stood With His Coat Unbuttoned When They Alighted To
                   and From the Courtroom

                                         51
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 52 of 148 PageID 165


       Q:    Do you usually wear your jacket open or unbuttoned?
       A:    I usually wear it open.

Id. at 30 (emphasis added) (questioning by State on cross-examination).

        Q:   You would have been standing, is that correct?
        A:   Yes, I would have.
Id. at 21.

        A:    If [Sparks] was standing, I was standing.
Id. at 29 (questioning by State on cross-examination).

             6.    Since the Jurors Saw Sparks, They Necessarily Also Saw
                   Moorehead’s Tie

       A:    I probably would have been seated in that chair, the first chair just
             inside the holdover door there, next to the brown desk.
Id. at 22.

       Q:    You sit in a chair that’s immediately in front of the rail, correct?
       A:    Yes, ma’am, that’s correct.

Id. at 26 (cross-examination testimony by the State).

             7.    Moorhead’s Position Was Clearly Visible From the Front of
                   the Courtroom

       Q:    And for purposes of the record, that chair is located, at least right now,
             in your line of visibility, is it not?
       A:    Well, it is right now, yes.

Id. at 22.

             8.    Nothing in Moorehead’s Hands or Lap Impeded The Jury’s
                   View of the Tie




                                          52
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 53 of 148 PageID 166


       Moorehead was clear that the device he was holding to control the stun belt

was so small as not to impede the view of his tie:


       A:    The device is very small. It’s only about 3 inches by maybe 1 inch.

Id. at 30.


       G.    Unreasonable Application of Clearly Established Federal
             Law Concerning the External Influence of Bailiff
             Moorehead’s Tie On the Jurors

       Under 28 USC §2254(d)(1), a district errs when it denies habeas relief based

on an “unreasonable application of, clearly established Federal law.”         Judge

Lewis’s conclusion in FFCL ¶14, “The Court finds that applicant has failed to

present any evidence proving that any juror considered Moorhead’s necktie during

deliberations” is so diametrically opposed to the Supreme Court’s doctrine on

external influences that no reasonable jurist could find it correct.

             1.     Sparks Does Not Have to Show Prejudice

       As an initial matter, Sparks does not have to show prejudice concerning this

external influence because it involves a “procedure employed by the State” rather

than some private individual impermissibly communicating with the jury.

       [A] procedure employed by the State involves such a probability that
       prejudice will result that it is deemed inherently lacking in due
       process.

                                          53
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 54 of 148 PageID 167


Estes v. Texas, 381 U.S. 532, 542-543 (1965).

      Bailiff Moorehead was a longtime employee of Dallas County, a political

subdivision of the State of Texas. Moorehead himself testified, and Judge Lewis

stated in the FFCL, that “Moorehead has worn the necktie during other Capital

Murder cases in which he has served and has never been reprimanded by his

supervisors.”     FFCL; ¶7.   The ineluctable conclusion is that the bearing of

hypodermic syringes on Moorhead’s attire was a form of municipal policy or

custom.

      The Fifth Circuit has long held that “the mere existence of contact between

the sheriff and the jurors resulting from the performance of perfunctory duties

required by law and the orderly conduct of court is not sufficient in and of itself to

invalidate the conviction.” Bowles v. Texas, 366 F.2d 734, 738 (5th Cir. 1966)

(emphasis added). Moorehead’s regular custom of wearing a syringe on his tie is

the antitheses of a perfunctory duty.

             2.     Even if Sparks Had to Show Prejudice, No Court Has Ever
                    Held that the Jurors Must Have Actually “Considered” The
                    External Influence In Their Deliberations

      In Turner, the Supreme Court explained of a required prejudice showing,
      This court is inclined to look upon the practice with disapproval, however,
      because in such cases there may be prejudice of a kind exceedingly difficult
      to establish.

Turner, at 470 (emphasis added).
                                         54
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 55 of 148 PageID 168


      And even if it could be assumed that the deputies never did discuss the case
      directly with any members of the jury, it would be blinking reality not to
      recognize the extreme prejudice inherent in this continual association…

Id. at 473.

      H.      Unreasonable Application of Clearly Established
              Federal Law Concerning the Situation of Moorehead
              Behind Sparks But in the Plain View of the Jury

      In Holbrook v. Flynn, the Supreme Court addressed whether seating “four

uniformed state troopers” in the row of spectators’ seats immediately behind the

defendant at trial denied the defendant his right to a fair trial. 475 U.S. 560, 562

(1986). The Court held that the presence of the troopers was not so inherently

prejudicial that it denied the defendant a fair trial. Id., at 571. In reaching that

holding, the Court stated that “the question must be ... whether ‘an unacceptable

risk is presented of impermissible factors coming into play.’ ” Id., at 570.

      In other words, “Flynn focused on a practice’s risk - the risk, not the reality,

of prejudice - to the defendant.” Scot Kitner, The Need and Means to Restrict

Spectators From Wearing Buttons at Criminal Trials, 27 REV. LITIG. 733, 766

(Summer 2008).

      Sparks respectfully submits that Moorehead’s situation behind Sparks but in

the plain view of the jury is the precise situation forewarned in Flynn. The

shockingly “unacceptable risk” of a bailiff wearing a syringe right behind the jury

                                          55
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 56 of 148 PageID 169


is wholly distinct from whether or not the jury actually relief on this influence in

reaching its decision.




                                        56
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 57 of 148 PageID 170


II.    CLAIM TWO HAS BEEN OMITTED

       In his initial skeletal petition, Sparks raised as Claim Two an IAC claim

derivative of the Moorehead/necktie issue. This was raised in the state writ, but

has no bearing on the outcome of Issue One. Sparks is not re-raising this issue in

the instant federal writ. However, for purposes of keeping the numbering uniform

and consistent, Sparks will continue to call this Claim Two.


III.   CLAIM THREE: SIXTH, EIGHT, AND FOURTEENTH AMENDMENTS WERE
       VIOLATED WHEN THE TRIAL COURT REFUSED TO GRANT A MISTRIAL IN
       SPITE OF REPEATED INSTANCES OF AUDIENCE DISRUPTIONS


                  Spectator Outburst at the Punishment Phase
                Raised as Point Twenty-Two in the Direct Appeal

       Sparks’s Sixth and Fourteenth Amendment rights to a fair trial were
       violated     when the trial court overruled his contemporaneous
       motion for mistrial after one of the victims’ father, Harold Sublet,
       Sr., caused a disturbance in the courtroom by rushing towards the jury
       rail causing numerous bailiffs to      jump up to constrain him.

                                    Introduction

       One of the victim’s father, Harold Sublet, Sr., attended trial wearing a t-shirt

with a picture of his late son imprinted. A review of State Writ Exhibit 2 from

approximately minutes 20:00-28:00 shows that Sublet stood in the doorway to the

courtroom during the first trial outburst by a hysterical woman. However, during



                                          57
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 58 of 148 PageID 171


closing argument at punishment phase, Sublet charged the jury rail. The following

recordation of the commotion is presented in the Record:

      Bailiff: Whoa up, brother. Stop there.
      Bailiff: Get back.
      Bailiff: Stay there. Get him.

(R.R. vol. 40, P. 41; 41 Ct. R. at 88-89); see also State’s Exhibit B From the writ
hearing, “Dallas DNA” DVD, (showing one victim’s father rushing at the
defendant during guilt and innocence.)”

      Sparks recognizes that in Carey v. Musladin, the Supreme Court denied

habeas relief when members of the deceased’s family sat in the front row of the

spectators’ gallery wearing buttons displaying the deceased’s image. 549 U.S. 70

(2006). Sublet’s t-shirt fits comfortably within Musladin’s holding.

      However, the Texas Court of Criminal Appeal’s conclusion that “the

conduct at issue was Sublet’s non-verbal, emotional response to the prosecutor’s

closing argument” is both factually incorrect and (as a result) yields a legal

incorrect result. The reason is this: the issue is not Sublet’s “emotional response”

but rather the external influence he imparted to the jurors in a purely physical; this

is wholly different from the purely visual functioning of the buttons in Musladin.

      A.     Unreasonable Determination of Fact: Court of Criminal
             Appeals Description of Sublet’s “Emotional Response”
             Elides Past the External Influence Imparted Through His
             Physical Conduct


                                         58
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 59 of 148 PageID 172


      Section 2254(d)(2) provides that a petitioner is entitled to relief if the state

court’s determinations of fact are unreasonable. Such unreasonableness is manifest

in the CCA’s factual determination that the conduct at issue was Sublet’s “non-

verbal, emotional response to the prosecutor’s closing argument.”                Left

unmentioned is that this response took the form of a physical charge into the

attorney’s-only area.

      Because of this factual misunderstanding, the CCA applied the wrong legal

standards.

      B.     Unreasonable Application of Clearly Established Federal
             Law Concerning the External Influence of Non-State
             Actors

      The Constitution guarantees a criminal defendant a trial free from an unduly

hostile atmosphere. Holbrook v. Flynn, 475 U.S. 560, 568–69 (1986) and Carey v.

Musladin, 549 U.S. 70 (2006).

             1.    Government-Sponsored Practices

      In Flynn, four uniformed police officers sat in the spectator section

immediately behind the defense table at trial.        Throughout trial, uniformed

policemen remained present as security.         The Flynn Court confronted two

questions about the constitutional effect of their trial participation.     First, the

Supreme Court confronted the question of “whether the conspicuous, or at least

                                         59
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 60 of 148 PageID 173


noticeable, deployment of security personnel in a courtroom during trial is the sort

of inherently prejudicial practice that, like shackling, should be permitted only

where justified by an essential state interest specific to each trial.” Id. at 568–89.

While recognizing that “the sight of a security force within the courtroom might

under certain conditions create the impression in the minds of the jury that the

defendant is dangerous or untrustworthy,” the Flynn Court refused to find that the

presence of security guards in the courtroom was inherently prejudicial. 475 U.S.

at 569 (quotation omitted).

      In Carey v. Musladin, 549 U.S. 70 (2006), members of a murder victim’s

family attended the defendant's trial wearing buttons with photographs of the

victim. The defendant claimed that the buttons violated his Sixth and Fourteenth

Amendment rights and invoked Flynn’s “inherent prejudice” review. The federal

circuit court in Musladin had granted habeas relief, finding that the spectators’

courtroom conduct created an unacceptable risk of prejudice. See Musladin v.

Lamarque, 403 F.3d 1072 (9th Cir.2005).             The Supreme Court reversed,

distinguishing Flynn as a case of “government-sponsored practice.” Id. at 75.

             2.    Practices by Non-State Actors During Trial - Press, Mobs,
                   Victims, Spectators

      The First Amendment rights of spectators to attend a trial do not allow free-

reign to disrupt the proceedings. Richmond Newspapers, Inc. v. Virginia, 448 U.S.
                                         60
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 61 of 148 PageID 174


555, 580-81 (1980) (holding that the public has a right to attend trials, but that right

is restricted by defendant’s right to a fair trial).

       The Supreme Court has found some spectator activities so prejudicial that

they deny the defendant a fair trial. Sheppard v. Maxwell, 384 U.S. 333, 362-63

(1966) (reversing Sheppard’s conviction because the trial judge failed to protect

the defendant from to control disruptive influences in the courtroom, depriving

Sheppard of a fair trial consistent with due process under the Fourteenth

Amendment.).



IV.    SIXTH AND FOURTEENTH AMENDMENTS WERE VIOLATED BY THE
       COMBINED EFFECTS OF THE OVERALL ATMOSPHERE AS IDENTIFIED IN
       THE IMMEDIATELY FOREGOING CLAIMS

         The Combined Effect of the Manifold External Influences Rendered
           Sparks’s Trial A “Sham” Suffering “Mob Domination”

       In Carey v. Musladin, the Supreme Court took cognizance of the combined

effect of otherwise disparate external effects on a trial. “This Court has considered

cases in which the proceedings were a sham or were mob dominated.” 127 S. Ct.

649, 654 n.2 (2006).

       One such mob case was Frank v. Mangum, 237 U.S. 309 (1915). A Georgia

grand jury indicted Frank for murder, and he was found guilty after a four-week

trial. Id. at 311-15. Frank’s attorney filed a motion for a new trial because of
                                             61
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 62 of 148 PageID 175


disorder in and about the courtroom, including “manifestations of public sentiment

hostile” enough to influence the jury. Examples of hostile sentiment included

laughter during witness examination, applause after an exchange in favor of the

prosecutor, and loud cheering outside the courtroom after the jury announced its

verdict and while the judge polled the jury of its verdict. Moreover, Frank was not

present during the verdict for fear of violence against him. The Supreme Court,

while denying relief to Frank on procedural grounds, recognized that if a mob

dominates a trial and actually interferes with the course of justice, such a trial

violates due process. Id. at 335.

      In Moore v. Dempsey, 261 U.S. 86 (1923), five African-American men faced

murder charges after a white man died during a disturbance near a black church in

Arkansas. Id. at 88-91. The governor appointed seven people to a committee to

investigate the murder. After the authorities arrested the five men, a mob marched

to the jail to lynch the defendants, but the committee promised the mob that the

men would be found guilty. Trial was “thronged with an adverse crowd that

threatened the most dangerous consequences to anyone interfering” with finding

the defendants guilty.

      The defendants appealed to the Supreme Court, arguing that the state court

proceedings were sham proceedings in violation of due process because of mob

                                        62
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 63 of 148 PageID 176


pressure. Id. at 87. The Court recognized the that “whole proceeding [was] a mask

- that counsel, jury and judge were swept to the fatal end by an irresistible wave of

public passion, and that the State Courts failed to correct the wrong.” Id. at 91.

Members of the jury, the Court noted, were under intense pressure to find the

defendants guilty. Id. at 92. The Court remanded the case for trial of the habeas

claim in the federal district court. Id.

       Sparks’s trial is highly similar to Frank and Moore. There was an “adverse

crowd” demonstrated by numerous outbursts from the audience manifesting hostile

public sentiment. This mob mentality affected the outcome of Sparks’s trial.




                                           63
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 64 of 148 PageID 177




V.    SPARKS’S EIGHTH AMENDMENT AND DUE PROCESS RIGHTS WERE
      VIOLATED WHEN THE STATE’S EXPERT WITNESS, A.P. MERILLAT,
      TESTIFIED TO MATERIALLY INACCURATE EVIDENCE AT THE PUNISHMENT
      STAGE


      A.    Factual Background: The Court of Criminal Appeals Has
            Repeatedly Reversed On the Grounds of Merillat’s False
            Testimony

      The State of Texas, during its punishment presentation, presented the

testimony of A.P. Merillat, who presented himself as a “criminal investigator with

the special prosecution unit in Huntsville.” 39 Ct. R. at 8-36, 68-95, at 8. Merillat

was called as an expert witness to explain “the likelihood or opportunities to be

violent inside the penitentiary.” 39 Ct. R. 8-9. Merillat explained that sparks

would enter the Texas Prison System (TDCJ) at a G-3 classification level if he was

sentenced to life in prison, and that no set of circumstances could change this. Id.

70-80. He also explained that persons entering at this level would be permitted to

go to the mess hall with other inmates, go the library with other inmates, go to

school and medical facilities, go to visitation, and that they could work outside the

walls of the prison. Id. at 76. Merillat’s testimony concerning the initial custody

level for those sentenced to life in prison was false. However, the jury, who did

not have the benefit of the information presented below, relied upon Merillat’s

testimony when sentencing Sparks to death. Cl. R. at 489, 90-94.
                                         64
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 65 of 148 PageID 178


      Prior to Sparks’ case, Merillat had testified falsely in at least two other

capital cases, both have since been reversed on the basis of his false testimony and

new punishment hearings have been granted. See Estrada v. State, 313 S.W.3d

274, 286 (Tex. Crim. App. 2010) cert. denied, 131 S. Ct. 905, 178 L. Ed. 2d 760

(U.S. 2011); Velez v. State, AP-76,051, 2012 WL 2130890 (Tex. Crim. App.

2012), reh’g denied (Sept. 12, 2012).

      B.    In Truth, TDCJ Reviews Each New Prisoner and Determines the
            Correct Initial Custody Level Based Upon the Inmate’s Specific
            Characteristics


      For the purposes of his Federal Writ, Sparks’ has obtained the services of

Frank Aubuchon, who worked over 26 years for TDCJ, in jobs with titles such as

Classification Case Manager, Chief of Unit Classification, Courtroom Coordinator,

Administrator for Unit Classification and Administrator for Classification

Operations. See Exhibit 1, (Affidavit of Aubuchon and supporting documents.)

Sparks requests that this Court to review the information submitted by Aubuchon,

which explains the specific false statements made by Merillat at trial. See Exhibit

1.

      Aubuchon explains that a person sentenced to life without parole will, at

best, be classified to the G3 level, or, to the more restrictive G4 or G5 levels if

required. See Id. point 3 (citing internal Exhibit B - TDCJ Unit Classification
                                        65
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 66 of 148 PageID 179


Procedure 2.00 and Attachment A.) He explains that all non-death offenders are

processed through a diagnostic process as required by TDCJ regulations. Id.

(citing internal Exhibit C TDCJ 2003 Classification Plan pp. 35-55.) Aubuchon

points out that before an offender will be assigned to a G3 classification the

“offender must fit those characteristics to be assigned to G3 custody. Those

characteristics include having no pattern of recent in-prison assaultive behavior or

other disciplinary convictions resulting in major penalties in the preceding six

months and otherwise having ‘No requirement for a more restrictive custody.’” Id.

at point 6 (citing internal Exhibit E TDCJ Classification Plan at p. 73-86.) Those

offender’s with sufficiently bad disciplinary records could be assigned to G4 or G5

custody level right off the back. Id. In short, Sparks history for violence both in

and out of jail would “be taken into account when determining an initial custody

level for Sparks upon his admission to TDCJ.” Id. at 6 (citing internal Exhibit B -

TDCJ Unit Classification Procedure 2.00 and Attachment A.)

      Of course, G4 and G5 custody both offer prison officials with the

opportunity to keep inmates in more secure lock ups with more restrictions on their

movement and actions. See Exhibit one, internal exhibit b (Unit Classification

Procedure, 2.00) and attachment a thereto.     Finally, Aubuchon explains that all

TDCJ classification employees receive formal training on the classification

                                        66
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 67 of 148 PageID 180


procedures, and yearly training seminars are held to keep the staff up to date. See

Exhibit 1, points 5-6.

      C.     Merillat’s False Testimony

      First, it should be pointed out that Merillat never worked for TDCJ, and

therefor never had any of the formal training offered to TDCJ employees related to

the classification process. 39 Ct. R. at 20; Exhibit one at points 5-6. This might

explain why he incorrectly testified that he had the same training as a TDCJ

employee: none. 39 Ct. R. at 73, 74. Merillat also was adamant that those

sentenced to life without parole would be “automatically classified as what’s called

a G3.” Id. at 70. He then explained all of the activities permitted of a G3 prisoner

and explained these prisoners would have opportunities for violent acts in the

future. Id. at 76-77. On cross examination Merillat continued his false testimony

once again claiming that all prisoners sentenced to over 50 years would start at a

G3 classification. Id. at 85. Merillat told the defense counsel he was “wrong”

about his assertion that a person could be sentenced to a more restrictive

classification than G3 “right of the bat.” He likewise disagreed that G3 was

minimum classification a person receiving a life sentence could receive, insisting

instead that they would be classified as G3 no matter what characteristics or

background. Id. at 87.

                                        67
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 68 of 148 PageID 181


        D.    The Jury Specifically Relied on Merillat’s Testimony When
              Making Its Life/Death Determination


        During closing argument the State of Texas pointed out that Spark’s had “89

mind-numbing instances” of misconduct in his first TDCJ stay. 41 Ct. R. at 85-86.

The State also highlighted Merillat’s testimony that there was “plenty of

opportunity, plenty of opportunities to commit acts of violence” in prison. Id. The

State exclaimed “[b]oy, did he fire up [defense attorney] Mr. Johnson.” Id. It is

quite possible that Johnson was fired up because he was unable to show that

Merillat was presenting false testimony.

        Indeed, because the defense did not rebut Merillat’s testimony, all they could

do to was vaguely argue that Merillat was not reliable, without being able to

identify the specific TDCJ documents which would have shown Merillat had no

idea what he was talking about, or worse, was actively lying on the stand. Id. at

96-7.

        After failing to reach a verdict after deliberating the majority of the day on

December 10, 2008, the jury specifically asked the court for Merillat’s testimony.

        The first note was sent at 7:23 p.m., and is reproduced below:




                                           68
Case 3:12-cv-00469-N Document 19 Filed 06/10/13   Page 69 of 148 PageID 182




                                   69
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                               Page 70 of 148 PageID 183


         The second note was sent at 7:59 p.m., and is reproduced below:




Cl. R. at 489-99. In response, the trial judge provided the jury with Merillat’s false testimony

explaining that Sparks would be classified at the G-3 Level. Id. at 490-94. By 10:36 am the next

morning Sparks would be sentenced to death.

         At no time during the pendency of this case has the State of Texas taken any steps to

correct Merillat’s false testimony. 1

         ISSUE RESTATED: The Eight Amendment to the United States Constitution
         would be violated by allowing a death sentence based on materially false
         classification evidence.


1 The prosecutor “is the representative not of an ordinary party to a controversy, but of a sovereignty whose
obligation to govern impartially is as compelling as its obligation to govern at all; and whose
interest, therefore, in a criminal prosecution is not that it shall win a case, but that justice shall be done.”
Berger v. United States, 295 U.S. 78, 88 (1935); see also TEX. CODE CRIM. PROC. art. 2.01 (stating duty of prosecutor in
nearly identical terms).
                                                          70
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 71 of 148 PageID 184


      “The fundamental respect for humanity underlying the Eighth Amendment's

prohibition against cruel and unusual punishment gives rise to a special ‘need for

reliability in the determination that death is the appropriate punishment’ in any

capital case.” Johnson v. Mississippi, 486 U.S. 578, 584 (1988) (citing Gardner v.

Florida,   430   U.S.   349,   363-364     (1977)   (WHITE,     J.,   concurring     in

judgment)(quoting Woodson v. North Carolina, 428 U.S. 280, 305, 96 S.Ct. 2978,

2991-92, 49 L.Ed.2d 944 (1976)). In Johnson v. Mississippi the Supreme Court

reversed a sentence of death where the “jury was allowed to consider evidence that

has been revealed to be materially inaccurate.” Id. at 590.

      In Johnson the Supreme Court looked at two factors, first, it decided that the

jury was allowed to consider materially inaccurate evidence, second it decided that

the evidence was prejudicial. Id. at 586. The Supreme Court pointed out that even

had the prosecutor not relied upon the false evidence in closing arguments “there

would be a possibility that the jury's belief that petitioner had been convicted of a

prior felony would be ‘decisive’ in the ‘choice between a life sentence and a death

sentence.’” Id. (citing Gardner v. Florida, 430 U.S., at 359 (plurality opinion)).

      Both factors, false testimony and prejudice, are present in Sparks’ case. Just

as in the Johnson case, the jury in Sparks’ case was presented with materially false

evidence. Also, as in the Johnson case, the State highlighted this evidence during

                                         71
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 72 of 148 PageID 185


closing argument. Taking things a step further than Johnson, we know that the

jury actually considered the false evidence in this case because they asked for it

shortly before returning a death sentence. It cannot be doubted that both error and

cause are present in Sparks’ case.

      The Supreme Court has repeatedly explained that “under the Eighth

Amendment ‘the qualitative difference of death from all other punishments

requires a correspondingly greater degree of scrutiny of the capital sentencing

determination.’” Caldwell v. Mississippi, 472 U.S. 320, 329 (1985) (citing

California v. Ramos, 463 U.S., at 998-999, 103 S.Ct., at 3452.) For this reason the

Court of Criminal Appeals was correct when it, in reversing a capital defendant’s

death sentence on the grounds of Merillat’s false testimony, said that they “believe

that the Supreme Court would find this to be constitutionally intolerable.” Estrada

v. State, 313 S.W.3d 274, 287 (Tex. Crim. App. 2010) (citing Johnson v.

Mississippi, 486 U.S. 578, 590, 108 S.Ct. 1981, 100 L.Ed.2d 575 (1988) (death

sentence based on “materially inaccurate” evidence violates Eighth Amendment);

Townsend v. Burke, 334 U.S. 736, 740–41, 68 S.Ct. 1252, 92 L.Ed. 1690 (1948) (it

violates due process to base conviction on “materially untrue” information

“whether caused by carelessness or design”).




                                        72
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                              Page 73 of 148 PageID 186


         E.       The State Violated Sparks’ Due Process rights by Presenting
                  Materially False and Misleading Information to the Jury

         Sparks’ Due Process rights were violated by the state’s use of Merillat’s

false testimony for three related reasons: (1) a “conviction obtained through the use

of false evidence must . . . fall under the Fourteenth Amendment;” 2 (2) suppression

of “evidence favorable to the accused . . . violates due process where the evidence

is material either to guilt or punishment, irrespective of the good faith or bad faith

of the prosecution;”3 and (3) the Due Process Clause does not allow the execution

of a person “on the basis of information which he had no opportunity to deny or

explain.” 4

                  1.       Convictions based on false evidence violate due process

         Constitutional due process prohibits the state from securing a conviction or

death sentence through the use of false or highly misleading evidence. See Napue

v. Illinois, 360 U.S. 264, 269 (1959) (holding that “a conviction obtained through

use of false evidence, known to be such by representatives of the State, must fall

under the Fourteenth Amendment”). “The same result [is obtained] when the State,

2 Napue v. People of State of Ill., 360 U.S. 264, 269 (1959) (citing Mooney v. Holohan, 294 U.S. 103, 55 S.Ct. 340, 79
L.Ed. 791; Pyle v. State of Kansas, 317 U.S. 213, 63 S.Ct. 177, 87 L.Ed. 214; Curran v. State of Delaware, 3 Cir., 259
F.2d 707. See State of New York ex rel. Whitman v. Wilson, 318 U.S. 688, 63 S.Ct. 840, 87 L.Ed. 1083, and White v.
Ragen, 324 U.S. 760, 65 S.Ct. 978, 89 L.Ed. 1348. Compare Jones v. Commonwealth of Kentucky, 6 Cir., 97 F.2d 335,
338, with In re Sawyer's Petition, 7 Cir., 229 F.2d 805, 809. Cf. Mesarosh v. United States, 352 U.S. 1, 77 S.Ct. 1, 1
L.Ed.2d 1.

3Brady v. Maryland, 373 U.S. 83, 87; 83 S.Ct. 1193, 1197 (1963)
4 Simmons v. S. Carolina, 512 U.S. 154, 161 (U.S.S.C. 1994) (citing Gardner v. Florida, 430 U.S. 349, 362, 97 S.Ct.
1197, 1207, 51 L.Ed.2d 393 (1977)).
                                                          73
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                             Page 74 of 148 PageID 187


although not soliciting false evidence, allows it to go uncorrected when it appears.”

Id. at 79. Importantly, it is not necessary that the prosecution actually knew that

the testimony in this case was false, it is enough that the prosecution should have

known as much. See e.g., United States v. Agurs, 427 U.S. 97, 103(1976) (explain

that error occurs with the use of false evidence where the “evidence demonstrates

that the prosecution's case includes perjured testimony and that the prosecution

knew, or should have known, of the perjury.”) 5                              Convictions based on false

evidence must be reversed if the false evidence “may have had an effect on the

outcome of the trial.” Napue, 360 U.S. at 272 (1959).

         As discussed supra, Merillat’s testimony was false. Further, in this case,

the State of Texas has never made any attempts to correct this false testimony. 6

         The State constructively knew or should have known Merillat’s claims were

false for three reasons. First, the prosecutors themselves knew or should have

known. The TDCJ policy is not merely a technical or obscure fact of concern only
5 The State of Texas recognizes the knows or should have known standard. See Ex parte Adams, 768 S.W.2d 281,
289 (Tex.Crim.App. 1989) (Napue applies “where the prosecution knew or should have known that perjured
testimony was utilized to secure a conviction”) (internal quotation omitted) citing United States v. Agurs, 427 U.S.
97, 103 (1976) (reaffirming “knew or should have known” standard); Giglio v. United States, 405 U.S. 150, 154
(1972) (“whether the nondisclosure [is] a result of negligence or design, it is the responsibility of the
prosecutor.”)); Duggan v. State, 778 S.W.2d 465, 468 (Tex.Crim.App. 1989) (“It does not matter whether the
prosecutor actually knows that the evidence is false; it is enough that he or she should have recognized the
misleading nature of the evidence.”).
6 Petitioner points out that in Estrada, a previous cases where Merillat falsely testified, the prosecution followed
their duty and conceded error on appeal: “In this case, the State has fulfilled this duty to correct the “false”
testimony of Merillat that it presented at appellant's trial and which may have contributed to appellant's death
sentence.” Estrada v. State, 313 S.W.3d 274, 288 (Tex. Crim. App. 2010). Sparks urges the state to do so in his
case as well.

                                                         74
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                            Page 75 of 148 PageID 188


to corrections experts. Instead, this information is of critical importance to the

prosecutor’s job in ascertaining: 1) which defendants pose a threat of future danger

warranting the State’s pursuit of a death sentence; 2) the appropriateness of plea

dispositions in capital cases; and 3) how to prove future dangerousness, when a

death sentence is sought. 7 Representing the State of Texas, which relies on TDCJ

to incarcerate its convicts, the prosecution sought a death sentence based on its

position that Mr. Estrada posed a threat of future danger if not executed.

Demonstrating that it did know the importance of classification to this special issue

the state called Merillat who essentially testified only that the initial G3 mandatory

classification, which was false, would allow Sparks to be violent in prison. If the

prosecution did not know about TDCJ Unit Classification Procedure 2.0 it had a

duty to inquire of other state personnel including those at the TDCJ before calling


7 The American Bar Association (“ABA”) Standards on the Prosecution Function also support the common-sense
notion that the prosecutors knew or should have known the correct and current classification policy, given its
crucial importance to the future dangerousness inquiry. See ABA Prosecution Function, Standard 3-6.2 Information
Relevant to Sentencing (available at http://www.abanet.org/crimjust/standards/pfunc_blk.html#1.2) (last visited
Oct. 29, 2008).:
          (a)     The prosecutor should assist the court in basing its sentence on complete and accurate
          information for use in the presentence report. The prosecutor should disclose to the court any
          information in the prosecutor's files relevant to the sentence. If incompleteness or inaccurateness in the
          presentence report comes to the prosecutor's attention, the prosecutor should take steps to present the
          complete and correct information to the court and to defense counsel.
          (b)     The prosecutor should disclose to the defense and to the court at or prior to the sentencing
          proceeding all unprivileged mitigating information known to the prosecutor, except when the
          prosecutor is relieved of this responsibility by a protective order of the tribunal.
Id. (emphasis added). Although this standard refers only to inaccurate information in presentence reports, the
broader principle – that prosecutors must supply the sentencer with reliable information – applies equally here.
The ABA standards are a useful guideline for determining what the prosecutor knew or should have known.
Indeed, the Supreme Court cited ABA standards pertaining to discovery in support of its holding in Giglio v. United
States, 405 U.S. 150, 154 (1972).
                                                        75
  Case 3:12-cv-00469-N Document 19 Filed 06/10/13                                Page 76 of 148 PageID 189


Officer Merillat to the stand and after the jury sent its second note. 8 Asking the

jury to sentence Sparks to death based on TDCJ classification evidence, the

prosecution, at a minimum, should have known the current TDCJ policy.

Although whether its ignorance was in good or bad faith is legally irrelevant, 9 if

the State did not know, it was willfully or recklessly ignorant of a fact of life and

death consequence.

         Second, Merillat himself, knew or should have known, that his testimony

was false and highly misleading. Courts impute the knowledge of the “prosecution

team” to the prosecutor.10                 Merillat works for the State of Texas as a “criminal

investigator with the special prosecution unit in Huntsville.” 39 Ct. R. at 8-36, 68-

95, 8. Merillat was called as an expert witness to explain “the likelihood or

opportunities to be violent inside the penitentiary.” Id. at 8-9. His expertise on

Texas prisons is also self-professed. Id. at 68-59.                                 As an expert, he had an

obligation to know the current TDCJ policy. Given the stakes, there is absolutely
8 The prosecutor’s primary “duty [was] not to convict, but to see that justice is done.” TEX. CRIM. PROC. art. 2.01.
Clearly, justice required that the State acquire accurate sentencing information from TDCJ, especially once the jury
crystallized the importance of this issue. See also Kyles v. Whitley, 514 U.S. 419, 437 (1995) (holding in context of
Brady v. Maryland, 373 U.S. 83, 87 (1963), that prosecutors have a “duty to learn of any favorable evidence known
to the others acting on the government’s behalf in the case”).
9 Because Brady was aimed at ensuring that an accused receives a fair trial rather than punishing the prosecutor
for failing to disclose favorable evidence, the prosecution's obligation to disclose is not measured by the moral
culpability, or the willfulness, of the prosecutor. Agurs, 427 U.S. at 110 & n. 17, 96 S.Ct. at 2400 & n. 17. U.S. ex rel.
Smith v. Fairman, 769 F.2d 386 at 392 (7th Cir.1985). In Brady cases the good or bad faith of the State is irrelevant
for due process purposes.
10 United States v. Antone, 603 F.2d 566, 569 (5th Cir. 1979) (cited often by Texas Courts and imputing knowledge
of state police officers to federal prosecutor) (“In considering use of perjured testimony this Court has declined to
draw a distinction between different agencies under the same government, focusing instead upon the
“prosecution team” which includes both investigative and prosecutorial personnel.”).
                                                           76
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 77 of 148 PageID 190


no excuse for him not to know an extremely pertinent, published, and disseminated

TDCJ classification policy that was the subject of his testimony, of course, if he

did know of the policy he perjured himself in Sparks’ case. Finally, it should be

pointed out that the Court of Criminal Appeals agrees that “[b]oth Merillat and the

state knew or should have known of that regulation and therefore knew or should

have known that Merillat’s testimony about the G classification of inmates who

were sentenced to life without parole was false.” Velez v. State, AP-76,051, 2012

WL 2130890 (Tex. Crim. App. June 13, 2012), reh’g denied (Sept. 12, 2012), cert.

denied, 133 S. Ct. 2020 (U.S. 2013) (concerning similar false testimony from

Merillat).

      Third, the TDCJ is properly considered part of the prosecutorial team for

Napue purposes under these circumstances. See Pennsylvania v. Ritchie, 480 U.S.

39, 60-61 (1987) (finding Brady obligation applied to state youth agency in case

prosecuted by Pittsburgh District Attorney’s Office).

      It cannot be doubted that Merillat’s false testimony “may have had an effect

on the outcome of the trial” and was therefore prejudicial. See Napue, 360 U.S. at

272 (1959) (using this standard of harm). Merillat’s testimony falsely told the jury

that Sparks would initially be classified as a G3 prisoner when arriving to prison,

in spite of his past record or any other factors. This was patently false. He

                                        77
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 78 of 148 PageID 191


testified that as a G3 prisoner Sparks would be permitted to go to the mess hall

with other inmates, go the library with other inmates, go to school and medical

facilities, go to visitation, and that they could work outside the walls of the prison.

39 Ct. R. at 76. Of course, as explained by Frank Aubuchon, who is actually

familiar with the TDCJ rules and regulations, in reality the classification

committee would review Sparks past for violence and could, based on their review,

classify Sparks to a more restrictive classification. See Exhibit 1. Finally, the fact

that the jury specifically requested Merillat’s testimony before sentencing Sparks

to death shows that jury considered his testimony in reaching their decision. It is

clear this false testimony was material and affected Sparks’ case.


             2.     Brady Violation Predicated on the Withholding of
                    Impeachment Evidence

      In Brady v. Maryland, the Supreme Court held that suppression by the State

of “evidence favorable to the accused upon request violates due process where the

evidence is material either to guilt or punishment, irrespective of the good faith or

bad faith of the prosecution.” Brady v. Maryland, 373 U.S. 83, 87; 83 S.Ct. 1193,

1197 (1963). In later cases, the Supreme Court extended Brady and held that the

prosecutor’s duty to disclose such evidence applies even if there has been no

request by the defendant, United States v. Agurs, 427 U.S. 97 (1976), and that this

                                          78
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 79 of 148 PageID 192


duty includes both impeachment and exculpatory evidence. United States v.

Bagley, 473 U.S. 667 (1985).

      The Supreme Court has also decided the State is deemed to possess evidence

that is in the possession of any part of the prosecutorial team. Kyles v. Whitley, 514

U.S. at 437.      Evidence withheld by the state is material, and a new trial is

required, if there is a reasonable probability that, had the evidence been disclosed

to the defense, the outcome of the proceeding would have been different. See e.g.

Giglio v. U.S., 405 U.S. 150, 154 (“A new trial is required if ‘the false testimony

could . . . in any reasonable likelihood have affected the judgment of the jury.)

Thus, a due process violation occurs if: 1) the State fails to disclose evidence,

regardless of the prosecution’s good or bad faith; 2) the withheld evidence is

favorable to the accused; 3) the evidence is material, that is, there is a reasonable

probability that had the evidence been disclosed, the outcome of the trial would

have been different. See Brady v. Maryland, supra.

      It cannot be doubted that Merillat is part of the prosecution team for this

case. Prosecutors have a duty to learn of Brady evidence known to others acting

on the State’s behalf in criminal cases. See Kyles v. Whitley, 514 U.S. 419 (1995)

(the State’s failure to disclose two eye witness statements known only to the police

violated Brady). In Sparks’ case, the prosecution therefore had a duty to discover

                                         79
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 80 of 148 PageID 193


what Merillat knew, either that he was fabricating his testimony or that he had no

idea what he talking about. “Moreover, whether the nondisclosure was a result of

negligence or design, it is the responsibility of the prosecutor. The prosecutor's

office is an entity and as such it is the spokesman for the Government.” Giglio v.

United States, 405 U.S. 150, 154 (1972) (citing Restatement (Second) of Agency s

272; American Bar Association, Project on Standards for Criminal Justice,

Discovery and Procedure Before Trial s 2.1(d)).

      The state has never disclosed, either during Sparks’ trial or at any time after

the trial, that Merillat’s testimony was false. Clearly this evidence was favorable

to the accused, and as discussed above, there is a reasonable probability, that had

Merillat been outed as a charlatan, that Sparks’ would have received life in prison.

While it is true that Sparks committed a horrible murder, it is also true that there

was ample evidence that he suffers from severe mental illness. Everything in this

case points to that fact, his delusions about being poisoned, his beliefs people were

out to get him, the way he acted after the crime, the fact that he thought the audio

tapes he made would set him free, when they were closer to gibberish. It is

entirely possible that had the jury known Sparks could be classified as a G5

inmate, immediately upon his arrival to prison, that they would have found in his

favor when making their sentencing determination.

                                         80
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 81 of 148 PageID 194


             3.     Violation of Simmons v. South Carolina By Presenting False
                    Evidence Which Sparks Was Not Afforded the Opportunity
                    to Deny

      The Supreme Court has explained “that The Due Process Clause does not

allow the execution of a person ‘on the basis of information which he had no

opportunity to deny or explain.’” Simmons v. S. Carolina, 512 U.S. 154, 161

(1994) (citing Gardner v. Florida, 430 U.S. 349, 362, 97 S.Ct. 1197, 1207, 51

L.Ed.2d 393 (1977)). In that case the capital defendant repeatedly requested the

judge to include a jury instructing notifying the jury that if he was sentenced to life

in prison, he would not be eligible for parole. Id. at 160. The judge refused to

grant the motion.    Id. Shortly into their determination of whether or not the

defendant should receive death, the jury specifically asked if the defendant would

be eligible for parole if sentenced to life. Id. They were instructed not to consider

the defendant’s parole eligibility, and the defendant was sentenced to death. Id.

Had he been sentenced to life in prison he would not have been eligible for parole.

Id.

      Based on this set of facts the Supreme Court ruled “it is clear that the State

denied petitioner due process.” They moved on to decided prejudice. They began

by explaining that “[i]n assessing future dangerousness, the actual duration of the

defendant's prison sentence is indisputably relevant. Holding all other factors

                                          81
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                            Page 82 of 148 PageID 195


constant, it is entirely reasonable for a sentencing jury to view a defendant who is

eligible for parole as a greater threat to society than a defendant who is not.” Id. at

163. In much the same way, in assessing future dangerousness, a person’s prison

classification is indisputably relevant. A person who will be allowed to mingle

freely with other inmates and work outside the walls is more likely to have

opportunities to for violence than someone who will be classified to a more

restrictive classification. By presenting false testimony related to the classification

procedure, and failing to correct the false testimony, the State of Texas violated

Sparks rights to due process by sentencing a man to death based on evidence which

he had no opportunity to deny or explain. 11

        F.       Trial Counsel Failed to Provide Constitutionally-Required
                 Effective Assistance of Counsel When He Failed to Correct the
                 Record by Introducing Evidence Rebutting Merillat’s Testimony

        The withheld evidence in this case was not facially apparent from Merillat’s

testimony. Quite simply, in our justice system we expect state officials to testify

truthfully and it is rather rare to find one who will testify falsely, as Merillat was

willing to do. It seems unfair to put the onus for correcting false testimony on the

defense team.           However, Sparks recognizes that some Courts have held a

prosecutor’s duty to disclose evidence is limited to information that the defendant

11 The state court explained in another Merillat case that the “[a]ppellant had no duty to object because he could
not reasonably be expected to have known that the testimony was false at the time that it was made. Estrada v.
State, 313 S.W.3d 274, 288 (Tex. Crim. App. 2010).
                                                        82
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 83 of 148 PageID 196


or defense counsel could not have obtained exercising reasonable or due diligence.

See, e.g., Parr v. Quarterman, 472 F.3d 245, 254 (5th Cir. 2006). Also, if the

evidence was equally accessible to the defendant, it is not subject to Brady. Banks

v. Dretke, 540 U.S. 668, 691 (2004). In the event his court believes Merillat’s false

testimony would have been discovered through the use of due diligence, then

Sparks’ trial counsel was ineffective.

      There are two venerable elements to an ineffective assistance of counsel

claim. “First, the defendant must show that counsel's performance was deficient.

This requires showing that counsel made errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.

Second, the defendant must show that the deficient performance prejudiced the

defense.” Strickland v. Washington, 466 U.S. 668, 687 (2003). Under Strickland,

in order to show prejudice a “defendant must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Strickland, 466 U.S. at 694. As noted in

United States v. Bagley, the prejudice test for Strickland is identical to the

materiality test for Brady claims. 473 U.S. 667, 682 (1985).          Prejudice has

therefor been shown by proving that Merillat’s testimony reasonably effected the

outcome of the trial.

                                         83
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 84 of 148 PageID 197


      Defense counsel was ineffective for allowing Officer Merillat to mislead the

jury with his demonstrably incorrect claim that inmates sentenced to life without

parole will enter prison at the G3 classification level regardless of the specific

offender characteristics. Further, defense counsel had a constitutional obligation to

investigate future dangerousness. See, e.g., Rompilla v. Beard, 545 U.S. 374, 381-

83 (2005) (finding ineffectiveness based on failure to investigate and discover

mitigating evidence). In spite of the fact that the defense had apparently reviewed

some of Merillat’s past testimony (39 Ct. R. at 19), the defense failed to request

Merillat’s personnel file, training history, and case files prior to trial. Id. Only at

the trial did the defense tell the judge “I need to see every bit of information.” Id.

      Defense counsel also failed to secure an expert who could have set the

record straight, and testify as the proper TDCJ rules regarding classification. Had

an expert, like Frank Aubuchon, been called to testify, Merillat could have been

outed as the charlatan that he is. See Exhibit 1, Affidavit of Frank Aubuchon

(explaining that Aubuchon would personally have been available to consult with

the defense and testify before the jury.) The TDCJ policy in effect at the time of

Sparks’ trial makes it clear, there is a review process undertaken before a TDCJ

inmate is assigned a custody level. See Exhibit 1, internal exhibit B. A basic open

records request of TDCJ would have led to the written policy itself. Undoubtedly,

                                          84
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                            Page 85 of 148 PageID 198


other avenues to this information also exist. Counsel’s failure to locate any of

several avenues to the truth, and to guide the jury there, was inexcusable and

completely ineffective.

          As the ABA Guidelines for the Appointment and Performance of Defense

Counsel in Death Penalty Cases (2003) and their Texas counterparts demonstrate,

this information constitutes precisely the type which competent counsel is required

to investigate and find in a capital case.12 It is well recognized that counsel cannot

make a reasonable strategic decision without first conducting an adequate

investigation. See, e.g., Wiggins, 539 U.S. at 534 (“‘[S]trategic choices made after

less than complete investigation are reasonable’ only to the extent that ‘reasonable

professional judgments support the limitations on investigation’” (quoting

Strickland, 466 U.S., at 690-691)). Here, by failing to take the rudimentary

investigative steps that would have led to the pertinent TDCJ written policy,

12 See ABA Guidelines for the Appointment and Performance of Defense Counsel in Death Penalty Cases (“ABA
Guidelines for Capital Counsel”), 31 Hofstra L. Rev. 913, 1055 (2003). Guideline 10.11(A) (“As set out in Guideline
10.7(A), counsel at every stage of the case have a continuing duty to investigate issues bearing upon penalty and to
seek information that supports mitigation or rebuts the prosecution’s case in aggravation.”); 10.11 Commentary,
pp. 1059-1070 (“Counsel is entitled to impress upon the sentencer through evidence, argument, and/or instruction
that the client will either never be eligible for parole, will be required to serve a lengthy minimum mandatory
sentence before being considered for parole, or will be serving so many lengthy, consecutive sentences that he has
no realistic hope of release. In at least some jurisdictions, counsel may be allowed to present evidence concerning
the conditions under which such a sentence would be served.” (noted omitted)) (emphasis added); 10.11 (F)(3)
(“In deciding which witnesses and evidence to prepare concerning penalty, the areas counsel should consider
include the following: Witnesses who can testify about the applicable alternative to a death
sentence and/or the conditions under which the alternative sentence would be served”) (emphasis added); 10.7
(A) (“Counsel at every stage have an obligation to conduct thorough and independent investigations relating to the
issues of both guilt and penalty.”). See also State Bar of Texas Guidelines and Standards for Texas Capital Counsel
Guideline 11.7 (F)(3) (same as ABA Guidelines for Capital Counsel 10.11 (F)(3) (published in 69 TEXAS BAR JOURNAL
966, 974 (2006) (available at www.texasbar.com) (last checked Oct. 29, 2008)).
                                                        85
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 86 of 148 PageID 199


counsel failed to conduct an adequate penalty-phase investigation and his

representation fell below a basic level of competence.

      By failing to properly conduct an investigation into the punishment phase of

his case, Sparks’ attorneys rendered ineffective assistances of counsel.          As

discussed above, this failure provided effective counsel prejudiced Sparks’ case

because it allowed the jury to consider Merillat’s false testimony. The fact that the

jury requested to review this testimony shortly before returning their verdict shows

a reasonable probability that, but for counsel’s ineffective assistance, Sparks’ case

would have ended with a life sentence, not a death sentence.

      G.     Contemporaneously Filed Motion to Stay and Abey

      Simultaneously with the filing of this Amended Writ, Sparks’ is filing a

motion related to his requested Stay and Abeyance. Sparks’ will only briefly

introduce the issue here and respectfully direct this Court to his motion for a full

explanation of his argument.

      Federal precedent has firmly established that federal district courts should

not entertain unexhausted claims raised in writs of habeas corpus. See Rose v.

Lundy, 455 U.S. 509 (1982). This idea is based on the “interests of comity and

federalism [which] dictate that state courts must have the first opportunity to

decide a petitioner’s claims.” Rhines v. Webber, 544 U.S. 269, 273 (2005).

                                         86
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 87 of 148 PageID 200


However, this doctrine was established in the era before AEDPA was enacted

when there was no statute of limitations related to the filing of federal habeas

petitions. Id. at 274. With the enactment of AEDPA came the strict one year

statue of limitations on the filling of federal petitions. 28 U.S.C. § 2244(d).

      In Rhines, the Supreme Court recognized the difficulty faced by petitioners

when trying to balance the effect of the exhaustion requirement on one hand with

the short statute of limitations on the other. After discussing the goals of AEDPA

and the role of habeas corpus in general, the Court decided that it is proper for

district courts to stay and abet federal writs so that unexhausted claims can be

presented to the state courts in limited circumstances. Rhines, 544 U.S. at 277.

The Court decided that it was proper to stay and abey a petitioners claims when:

(1) “the district court determines there [is] good cause for the petitioner’s failure to

exhaust his claims first in state court” and (2) the unexhausted claims are

potentially meritorious, and 3) there is no indication that the petitioner engaged in

intentionally dilatory litigation tactics.” Rhines v. Weber, 544 U.S. 269, 278

(2005). Id.

      Until the recent past, Texas’ capital petitioners had a hard time establishing

that they had potentially meritorious claims as required by Rhines because the

Court of Criminal Appeals refused to hear any writ applications while there was a

                                          87
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 88 of 148 PageID 201


parallel federal writ pending. See Ex Parte Soffar, 143 S.W. 3d 804, 804 (Tex.

Crim. App. 2004). However, in Ex Parte Soffar the Court of Criminal Appeals

determined it would consider properly presented subsequent writs if the federal

district court had granted a stay of the federal proceedings. Id.

      In his motion to Stay and Abey Sparks specifically explains why such an

action is proper in his case.

      H.     The Supreme Court’s Recent Opinion in Trevino v. Thaler Applies
             Straightforwardly to the Case Sub Judice

      Recently, in Trevino v. Thaler, the Supreme Court held that the holding of

Martinez applies to Texas:

      “[A] procedural default will not bar a federal habeas court from
      hearing a substantial claim of ineffective assistance at trial if, in the
      initial-review collateral proceeding, there was no counsel or counsel
      in that proceeding was ineffective.”

      Trevino v. Thaler, 133 S. Ct. 1911 (U.S. 2013) (citing Martinez v. Ryan, 132

S. Ct. 1309, 182 L. Ed. 2d 272 (2012)).

      Sparks submits that his State Habeas Counsel was ineffective for failing to

present this claim in his state writ of habeas corpus. Sparks would first point out

that Marillat’s use of false testimony was exposed in the Estrada case which was

decided close to two months before his state writ was filed. In the event this Court

concludes that state habeas counsel should therefore have discovered the false

                                          88
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 89 of 148 PageID 202


testimony in time to present this claim to the state court but failed to do so, then

habeas counsel was ineffective.

      Sparks’ recognizes that some Courts have held a prosecutor’s duty to

disclose evidence is limited to information that the defendant or defense counsel

could not have obtained by exercising reasonable or due diligence. See, e.g., Parr

v. Quarterman, 472 F.3d 245, 254 (5th Cir. 2006). Also, if the evidence was

equally accessible to the defendant, it is not subject to Brady. Banks v. Dretke, 540

U.S. 668, 691 (2004).

      There are two elements to an ineffective assistance of counsel claim. “First,

the defendant must show that counsel's performance was deficient. This requires

showing that counsel made errors so serious that counsel was not functioning as

the ‘counsel’ guaranteed the defendant by the Sixth Amendment. Second, the

defendant must show that the deficient performance prejudiced the defense.”

Strickland v. Washington, 466 U.S. 668, 687 (2003).           Prejudice is shown by

showing, supra, that the Merillat claim is potentially meritorious.

      In the event this court finds that state habeas counsel could have discovered

this claim in time to include it in the state writ by exercising due diligence (in spite

of the fact the State has never brought this issue to Sparks’ attention), it seems

axiomatic that counsel was constitutionally deficient. The State Bar of Texas has

                                          89
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                    Page 90 of 148 PageID 203


identified the “Duties of Habeas Corpus Counsel” in the State Bar of Texas’

Guidelines and Standards for Texas Capital Counsel. 13 The Texas State Bar, in

identifying the duties of capital habeas counsel, identified one duty as follows:

        Habeas corpus counsel cannot rely on the previously compiled record,
        but must conduct a thorough and independent investigation.
        Specifically, habeas counsel cannot rely on the work of, or
        representations made by, prior counsel to limit the scope of the post-
        conviction investigation. Counsel must not assume that the trial record
        presents either a complete or accurate picture of the facts and issues in
        the case.

Id. at 30. Further, the State Bar has also stated that state habeas “counsel has a

duty to conduct a searching inquiry to assess whether any constitutional violations

may have taken place.” Id. If this evidence of Merillat’s false testimony was of

the type which should have been readily apparent to state habeas counsel, then it is

clear he failed his client by not raising this issue below, and was therefore

ineffective in representing his client.

        Thus, under the principles established in Trevino, this claim, at least as it

applies to the ineffectiveness of trial counsel, is not barred from this court’s

review. However, the principles established in Trevino and Martinez are also

applicable to this claim as whole, including the Due Process arguments. Trevino

pointed out that generally, “if a convicted state criminal defendant can show a



13 http://www.texasbar.com/Content/NavigationMenu/ForLawyers/Committees/TexasCapitalGuidelines.pdf).
                                                  90
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 91 of 148 PageID 204


federal habeas court that his conviction rests upon a violation of the Federal

Constitution, he may well obtain a writ of habeas corpus that requires a new trial, a

new sentence, or release.” Trevino v. Thaler, 133 S. Ct. 1911 at 6 (U.S. 2013). Of

course there are many traps for the unwary defendant, one being the general

requirement that claims first be presented to the state courts, this is referred to as

procedural default. Id. However, the Supreme Court has pointed out that “the

doctrine barring procedurally defaulted claims from being heard is not without

exceptions. A prisoner may obtain federal review of a defaulted claim by showing

cause for the default and prejudice from a violation of federal law.” Id. (internal

quotations omitted).

      The Supreme Court has identified three factors which support their belief

that Ineffective State Habeas Counsel excuses procedural default for the failure to

raise an ineffective trial counsel claim. “First, the right to the effective assistance

of counsel at trial is a bedrock principle in our justice system.... Indeed, the right to

counsel is the foundation for our adversary system.” Id. at 7 (quotations removed).

Second, taking into account that ineffective counsel on direct appeal is cause, it

only makes sense that ineffective assistance of habeas counsel should be cause for

claims which cannot be raised on direct appeal. Id. Such claims include those

which rely on evidence outside the trial record. Id. Third, where a state channels

                                           91
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 92 of 148 PageID 205


review of certain claims into collateral proceedings, the lawyers failure to raise

those claims at the state habeas level could deprive a person of any review at all.

Id. at 7-8.

       Sparks’ “Marillat claim” satisfies all of these factors. First, the idea that a

death penalty cannot rest on false testimony is well established. Johnson, 486 U.S.

578 (1988). Further the Supreme Court has repeatedly held that a conviction

obtained by the knowing use of perjured testimony is fundamentally unfair. Pyle v.

Kansas, 317 U.S. 213, 63 S.Ct. 177, 87 L.Ed. 214; Alcorta v. Texas, 355 U.S. 28,

78 S.Ct. 103, 2 L.Ed.2d 9; Napue v. Illinois, 360 U.S. 264, 79 S.Ct. 1173, 3

L.Ed.2d 1217; Miller v. Pate, 386 U.S. 1, 87 S.Ct. 785, 17 L.Ed.2d 690; Giglio v.

United States, 405 U.S. 150, 92 S.Ct. 763, 31 L.Ed.2d 104; Donnelly v.

DeChristoforo, 416 U.S. 637, 94 S.Ct. 273, 38 L.Ed.2d 216.

       Secondly, the review of a claim based on perjured testimony generally

requires in investigation, outside of the appellate record, in order to show that the

perjured testimony existed.     After all, had the state followed their duty and

corrected the false testimony at trial then there would be no claim at all. Finally, in

Texas, as the Court held in Trevino, “[i]t would have been difficult, perhaps

impossible, within [the] time frame [for direct appeal] to investigate” the Merillat

Claim thoroughly. Trevino, at 10.

                                          92
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 93 of 148 PageID 206


      Sparks therefor argues that his state habeas attorney was ineffective for

failing to raise this claim as a whole, not just for his failure to raise the

ineffectiveness of the trial counsel, and that the nature of this claim when viewed

through the Trevino framework establishes cause for his failure to raise this claim

bellow. Sparks has requested this court to grant a stay and abey in this case,

however, based on this analysis, it would also be proper for this court review this

claim de novo, without using the extra judicial resources necessary to take this case

back down the state courts, and without allowing the state to benefit from their Due

Process claim by forcing Sparks to file a successive writ which has a more

restrictive standard of review. See, e.g., Cone v. Bell, 556 U.S. 449, 472 (2009)

(“Because the Tennessee courts did not reach the merits of Cone's Brady claim,

federal habeas review is not subject to the deferential standard that applies under

AEDPA to “any claim that was adjudicated on the merits in State court

proceedings.” 28 U.S.C. § 2254(d). Instead, the claim is reviewed de novo.”); Tex.

C. Crim. P. 11.71 § 5.

      I.     A Valid Brady Claim Shows Cause for Failure to Exhaust

      In Banks v. Dretke, the Supreme Court explained that a petitioner who

affirmatively shows a valid Brady claim will also establish “cause and prejudice”




                                         93
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 94 of 148 PageID 207


to excuse a procedural default. 540 U.S. 668, 686 (2004). The Court explained the

reasoning behind this rule:

      Brady, we reiterate, held that “the suppression by the prosecution of
      evidence favorable to an accused upon request violates due process
      where the evidence is material either to guilt or to punishment,
      irrespective of the good faith or bad faith of the prosecution.” 373
      U.S., at 87, 83 S.Ct. 1194. We set out in Strickler v. Greene, 527 U.S.
      263, 281-282, 119 S.Ct. 1936, 144 L.Ed.2d 286 (1999), the three
      components or essential elements of a Brady prosecutorial misconduct
      claim: “The evidence at issue must be favorable to the accused, either
      because it is exculpatory, or because it is impeaching; that evidence
      must have been suppressed by the State, either willfully or
      inadvertently; and prejudice must have ensued.” 527 U.S., at 281-282,
      119 S.Ct. 1936. “[C]ause and prejudice” in this case “parallel two of
      the three components of the alleged Brady violation itself.” Id., at 282,
      119 S.Ct. 1936. Corresponding to the second Brady component
      (evidence suppressed by the State), a petitioner shows “cause” when
      the reason for his failure to develop facts in state-court proceedings
      was the State's suppression of the relevant evidence; coincident with
      the third Brady component (prejudice), prejudice within the compass
      of the “cause and prejudice” requirement exists when the suppressed
      evidence is “material” for Brady purposes. 527 U.S., at 282, 119 S.Ct.
      1936. . . . Thus, if [Sparks] succeeds in demonstrating “cause and
      prejudice,” he will at the same time succeed in establishing the
      elements of his Farr Brady death penalty due process claim.

      In that case the Supreme Court explained that it is the prosecution team

which matters for this analysis, not simply the trial prosecutors. Id. at 693 (citing

Kyles v. Whitley, 514 U.S. 419, 437, 115 S.Ct. 1555, 131 L.Ed.2d 490 (1995)

(prosecutors are responsible for “any favorable evidence known to the others

acting on the government's behalf in the case, including the police.”) Further, the

                                         94
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 95 of 148 PageID 208


Court in Banks suggested that a State’s failure to admit a Brady violation could be

seen as waiver of an procedural default argument. Id. at 705 (“We note in this

regard that, while AEDPA forbids a finding that exhaustion has been waived

unless the State expressly waives the requirement, 28 U.S.C. § 2254(b)(3), under

pre-AEDPA law, exhaustion and procedural default defenses could be waived

based on the State's litigation conduct.”)

      As Sparks has established a valid Brady violation, he has also shown cause

and prejudice for failing to exhaust this claim in the state courts below.

      J. This Court Should Hold an Evidentiary Hearing before Deciding if
      Sparks is Entitled to Relief on his “Merillat Claim”


      AEDPA discusses when a District Court should allow an applicant to

develop facts which were not developed at the state level:

      (2) If the applicant has failed to develop the factual basis of a claim in State
      court proceedings, the court shall not hold an evidentiary hearing on the
      claim unless the applicant shows that—

      (A) the claim relies on--(i) a new rule of constitutional law, made retroactive
      to cases on collateral review by the Supreme Court, that was previously
      unavailable; or(ii) a factual predicate that could not have been previously
      discovered through the exercise of due diligence; and

      (B) the facts underlying the claim would be sufficient to establish by clear
      and convincing evidence that but for constitutional error, no reasonable
      factfinder would have found the applicant guilty of the underlying offense.


                                             95
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 96 of 148 PageID 209


28 USCA § 2254(e)(2). However, the Supreme Court has held that “[u]nder the

opening clause of § 2254(e)(2), a failure to develop the factual basis of a claim is

not established unless there is lack of diligence, or some greater fault, attributable

to the prisoner or the prisoner's counsel.” Williams v. Taylor, 529 U.S. 420, 432

(2000). In short, “[i]f there has been no lack of diligence at the relevant stages in

the state proceedings, the prisoner has not ‘failed to develop’ the facts under §

2254(e)(2)'s opening clause, and he will be excused from showing compliance with

the balance of the subsection's requirements.” Id. at 437. Most importantly: “a

person is not at fault when his diligent efforts to perform an act are thwarted,

for example, by the conduct of another or by happenstance.” Id. at 432 (emphasis

added). The Court suggested that a person is entitled to a hearing when, for

example, “the prosecution concealed facts.” Id. at 435.

      In this case, Sparks is not at fault, and did not fail to present this claim

below, because the state has never complied with their duty to correct the false

testimony given in this case. As Sparks is not at fault, and did not fail to pursue

the claim diligently, the “cause and prejudice” standard applies to whether or not

this Court should hold a hearing on this issue. This is the same standard applied to

procedurally defaulted claims. Id. at 433. As discussed above, the showing of a

valid Brady claim shows cause and prejudice for the failure to exhaust this claim at

                                         96
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 97 of 148 PageID 210


the state level, it also excuses the failure to develop the factual record below. This

Court should order a hearing to properly develop the factual basis for this claim.

VI.   VIOLATION OF THE SIXTH AND EIGHTH AMENDMENTS IN THE DENIAL OF
      STRIKES FOR CAUSE TO NUMEROUS JURORS SPECIFICALLY NAMED IN THE
      DIRECT STATE APPEAL

                                   Introduction

      This claim was raised as claims one through nineteen in the state direct

appeal. While state direct appeal concerned the trial court’s denial of challenges

for cause related to eighteen venirepersons, Sparks, taking into consideration the

requirements of 28 U.S.C. § 2254(d), now asserts that the trial court erred in failing

to grant the defense’s challenges for cause on the following jurors: Kristine Marie

Bell, Myrna Noelia Conde, Patrick E. Norton, Harold Garland, Wheeler, Stacey

Anne Chadwick, Billy Esparza, and finally Susan Cassel. Sparks argues that the

Court of Criminal Appeals’ decision as related to these jurors resulted in a decision

that was contrary to, or involved an unreasonable application of, clearly established

Federal law and resulted in a decision that was based on an unreasonable

determination of the facts in light of the evidence presented in the state court

proceeding.

                            Clearly Established Federal Law




                                         97
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 98 of 148 PageID 211


      The United States Supreme Court gave us the proper standard for deciding

when a capital juror should be excused on account of their bias: “[t]hat standard is

whether the juror's views would prevent or substantially impair the performance of

his duties as a juror in accordance with his instructions and his oath.” Wainwright

v. Witt, 469 U.S. 412, 424 (1985) (internal quotations omitted). However, the

Court did not stop there, it also pointed out that “this standard likewise does not

require that a juror’s bias be proved with ‘unmistakable clarity.’” Id. The capital

defendant does not have to prove a juror’s bias with unmistakable clarity is simple:

“[t]his is because determinations of juror bias cannot be reduced to question-and-

answer sessions which obtain results in the manner of a catechism.” Id. Stated

another way: ”many veniremen simply cannot be asked enough questions to reach

the point where their bias has been made ‘unmistakably clear’; these veniremen

may not know how they will react when faced with imposing the death sentence, or

may be unable to articulate, or may wish to hide their true feelings.” Id. 424-25.

Because of this “the trial court has a serious duty to determine the question of

actual bias, and a broad discretion in its rulings on challenges therefor.... In

exercising its discretion, the trial court must be zealous to protect the rights of

an accused.” Id. at 429-30 (emphasis added and internal quotations omitted).




                                        98
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 99 of 148 PageID 212


      In Witt, the Supreme Court upheld a trial court’s exclusion for cause of

venireperson Colby. Id. at 430. The trial court in that case excused potential juror

Colby based on the following exchange between the state and the potential juror:

      “[Q. Prosecutor:] Now, let me ask you a question, ma'am. Do you have any
      religious beliefs or personal beliefs against the death penalty?
      “[A. Colby:] I am afraid personally but not-

      “[Q]: Speak up, please.

       “[A]: I am afraid of being a little personal, but definitely not religious.

      “[Q]: Now, would that interfere with you sitting as a juror in this case?

      “[A]: I am afraid it would.

      “[Q]: You are afraid it would?

      “[A]: Yes, Sir.

      “[Q]: Would it interfere with judging the guilt or innocence of the Defendant
      in this case?

      “[A]: I think so.

      “[Q]: You think it would.

      “[A]: I think it would.

      “[Q]: Your honor, I would move for cause at this point.

      “THE COURT: All right. Step down.” Tr. 266-267.

Id. at 415-416. In upholding the challenge for cause to Colby the Court in Witt

clearly decided, based on the exchange above, that Colby’s views on the death
                                          99
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 100 of 148 PageID 213


penalty would substantially impair the performance of his duties as juror. This is

in spite of the fact that Colby never explicitly stated that his views would interfere

with his duties, but rather stated that he “was afraid” and he thought they would.

      Also important is the Supreme Court rule that “[a]ny juror to whom

mitigating factors are likewise irrelevant should be disqualified for cause, for that

juror has formed an opinion concerning the merits of the case without basis in the

evidence developed at trial.” Morgan v. Illinois, 504 U.S. 716, 740 (1992). This is

related to the holding in Ross v. Oklahoma, where the Supreme Court held that a

juror who would automatically impose the death penalty in the event of conviction

should have been removed for cause. 487 U.S. 81, 83-84 (1988).

      In Sparks’ case the Court of Criminal Appeals repeatedly excused the trial

judge’s failure to grant defense challenges to potential jurors on the grounds that

the death prone jurors would eventually agree to the follow the law, even where the

overall theme of their voir dire showed bias. However, the fact that a potential

juror, who initially expresses hesitation in being fair, ultimately asserts they can

follow the law does not mean that juror is fit to serve on a capital jury. The Sixth

Circuit illustrated this point in White v. Mitchell, 431 F.3d 517 (6th Cir. 2005).

      White also involves a federal writ of habeas corpus reviewing a death

sentence. Petitioner White contended that the juror in question, Sheppard, “had

                                         100
Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 101 of 148 PageID 214


already formed an opinion with regard to (1) his guilt and (2) the appropriate

penalty and that, for this reason, she should have been removed by the trial judge.”

Id. at 537.

      The Ohio Supreme Court found that, although the ‘challenged juror
      expressed repeated concerns over whether she could be fair to the
      appellant[,] ... she ultimately acknowledged that she was a fair person and
      was willing to listen to all the evidence before making a final decision on
      appellant's guilt.’ White, 693 N.E.2d at 777. The district court likewise
      found that although juror Sheppard ‘initially expressed hesitation’ regarding
      her ability to be a fair and impartial juror, she ultimately ‘asserted that she
      could follow the dictates of the law,’ and thus, the Ohio Supreme Court
      ruling on this issue was not unreasonable under AEDPA.

Id. at 537. The Sixth Circuit disagreed.

      The juror in question “initially expressed strong doubts as to whether she

could serve on the jury, stating, ‘[t]o be honest, when I walked in here, I had my

opinion formed. And my opinion is still very strong. And I really feel that I know

the newspapers and the TV told so much, but I really feel that there's enough

evidence right there.”” Id. at 538. However, the juror also repeatedly explained

she could listen to the evidence before making her decision, and believed if she

were in the defendant’s position, she would want a juror like her on the panel. Id.

at 538-39. She repeatedly went back and forth, expressing her pro-death stance

while also saying she could be fair and listen to the evidence presented. Id. at 538-

541. The Sixth Circuit explained they were “struck by the vacillating nature of her

                                           101
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 102 of 148 PageID 215


responses; she contradicts herself from question to question, sometimes openly

equivocating during a single answer.” Id. at 541.

      In reversing the district court and ordering a writ of habeas corpus to issue

the Sixth Circuit was “guided by the Supreme Court's holding in Patton, 467 U.S.

at 1036, 104 S.Ct. 2885. In that case, the Supreme Court stated that the appropriate

question on review of a juror bias issue is ‘did a juror swear that [s]he could set

aside any opinion [s]he might hold and decide the case on the evidence, and

should the juror's protestation of impartiality have been believed.” Id. at 542

(citing Patton v. Yount, 467 U.S. 1025, 1036 (1984)). Indeed, it was “[t]he second

portion of that inquiry-whether the statements of the impartiality should have been

believed-“ that highlighted “the grave problem” with the juror’s testimony in

White. Id. at 543. In short, the vacillating nature of the juror’s statements made

them “simply unbelievable.” Id. It was because the lower courts failed to review

whether the jurors affirmation of fairness was believable that the Sixth Circuit

found that “the trial judge's failure to excuse Sheppard and the Ohio Supreme

Court's finding that the trial court did not abuse its discretion in failing to strike

Sheppard were contrary to or an unreasonable application of Supreme Court

precedent.” Id.

         The Factual Basis for the Claim and the State Court Decision

                                         102
Case 3:12-cv-00469-N Document 19 Filed 06/10/13           Page 103 of 148 PageID 216


         The direct appeal decision explains that Sparks properly preserved this issue

for appeal by objecting to each juror, using a preemptory strike, and requesting

additional strikes. Sparks v. State, AP-76,099, 2010 WL 4132769 (Tex. Crim.

App. Oct. 20, 2010). “However, because the trial court granted him two additional

peremptory strikes, appellant must show that the trial court committed error in

denying his challenges for cause to three potential jurors to demonstrate that he

was harmed.” Id.

                              Venireperson Kristine Bell

         The Defense objected to Venireperson Bell on the grounds that she would

automatically find a person to be a future danger in the even they were convicted

of capital murder and that she was extremely death prone. 12 Ct. R. at 147-149.

Bell explained that if she were the Governor of Texas she would expand the death

penalty. Id. at 128. The following also shows she should have been excluded for

cause:

         Q.(By Defense Counsel): I’m asking how you feel. We’re not asking you
         how things ought to be; we’re asking you how you think they should be.
         A. How I thinking they should be? Possibly, yeah, the - - possibly a child.
         Definitely physical, you know, like I said, quality of life. I mean,
         impairment. If I were writing the laws or whatever, elderly, possibly. It’s
         hard. Because I think no matter what, you’re still a person, as hard as that is.
         Doesn’t - - even though he- - I hate saying that. Whether you’re six or 60,
         you’re still a person.
         Q. What’s the death penalty accomplish?

                                           103
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 104 of 148 PageID 217


     A. Accomplish? I think it justifies an action that’s done, and if it’s proven I
     think it’s warranted.
     Q. So if it’s - - what’s proven, that the person committed the act?
     A. Yes.
     Q. Okay.
     .....
     Q. Whole bunch of folks tell us - - no right or wrong answers.
     Whole bunch of folks tell us, “If I just found this person guilty of a horrible
     multiple murder, in my mind I’m always gonna believe that Special Issue
     Number 1 should be yes.”
     A. Uh-huh.
     Q. How do you fell about that?
     A. I think probably yes. Not always, but probably. Not always.
     Q. Where do you envision the possibility of not always?
     A. Not always because I’m not him. I don’t know him. I don’t know what
     he’s gonna do. There a chance he may continue on, but I don’t’ know that.
     Q. How could you ever answer that question, then?
     A. What do you mean, saying yes? It’s probable. It’s probable given
     evidence, given background, given all those things. In the end, I don’t know
     what he’s gonna do.
     Q. So you wouldn’t consider that Special Issue Number 1 automatically
     should be answered yes?
     A. I think in this case, yes, it doesn’t. It has to be answered yes, because of
     the fact that he’s gonna be either sent to prison or the death penalty. In that
     situation with Special Issue No. 1, it would be yes.
     Q. Explain that, why you think it would be yes, then.
     A. From the way that I understand it, the way he described it to me, then I
     am not considering society like this society. I’m considering prison, that
     society there.
     Q. So you think that a person guilty of a multiple murder, you think - -
     would the answer to that question, being the fact he’s in prison, would
     always be yes?
      A. Yes.
     ...
     Q. You feel that if you found someone guilty of multiple murders, that - - in
     the same transaction, like our indictment in this case, that you feel he would
     always be probably a continuing threat to society?
     A. In the prison society?
                                       104
Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 105 of 148 PageID 218


      Q. Yes, ma’am.
      A. Yes.
      ...
      Q. - -you said you’re understanding that way, but you’re talking about, since
      you don’t know him, you think - - you’re kind of like interchanging
      probability and possibility.
      A. No, I’m saying that, well, 99 percent. You know, there’s 1 percent that
      maybe not. Mostly, yeah.
      Q. Okay.
12 Ct. R. at 130-143.

      This potential juror explained that she would automatically find a person

was a future danger, so long as the person was convicted of capital murder (at least

99% of the time.) It is clear that her views prevented her performing her duty as a

juror in a death penalty case, and in this particular instance, her bias was

unmistakably clear. Although Sparks’ presented this issue to the state court in his

Direct Appeal, the state court did not review the claim as related to this particular

juror. See Id. at n. 32. However, because this claim was raised below, there was

no procedural bar to raising the claim, and because the Court of Criminal Appeals

did not reach the merits of this particular claim, this court is not subject to the

deferential standards that apply under AEDPA. Cone v. Bell, 556 U.S. 449, 472,

129 S. Ct. 1769, 1784, 173 L. Ed. 2d 701 (2009). Instead, the claim is reviewed de

novo. Id. (citing Rompilla v. Beard, 545 U.S. 374, 390, 125 S.Ct. 2456, 162

L.Ed.2d 360 (2005) (de novo review where state courts did not reach prejudice

prong under Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d
                                        105
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 106 of 148 PageID 219


674 (1984)); Wiggins v. Smith, 539 U.S. 510, 534, 123 S.Ct. 2527, 156 L.Ed.2d

471 (2003) (same)).

                          Venireperson Myrna Conde

      The defense objected to Conde on the grounds that she would automatically

rule in favor of death on special issue number one if she found a person guilty of

capital murder, and on the grounds that she could not properly considering

mitigation evidence. 17 Ct. R. at 67-86. As the Court of Criminal Appeals

recognized, Conde was showed definite signs of being biased:

      “If it was presented that the defendant did commit the crime[,] that the
      severity of it was horrendous, the circumstances were premeditation, I
      believe that the State of Texas does impose the death penalty, I would
      be in favor of that.” She then indicated that she did not mean to say
      that in such a case the State “imposes” the death penalty, but rather
      the State of Texas “allows” the death penalty. Defense counsel asked
      Conde several times whether, after finding the defendant guilty, she
      would presume that the defendant would be a future danger, and each
      time Conde affirmed that she would answer the future dangerousness
      question affirmatively.

Sparks, 2010 WL 4132769, at 6. In part, the Court of Criminal Appeals was

referring to the following exchange:

      Q.(By the defense) : ….What you’re saying is the fact that you found him
      guilty of a heinous capital murder, you’re going to lean towards or presume
      that he will be a future danger and presume Special Issue Number 1 should
      be answered yes. Is that correct?
      A. That’s correct.

17 Ct. R. at 62. The juror repeatedly stated that she would find the defendant to be
                                        106
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 107 of 148 PageID 220


a future danger . She also emphatically stated that there was nothing she would

find that would be mitigating. This juror was positively mitigation impaired:

      Q. (By Mr. Peale): ....The law doesn’t define, which they’re always good at
      doing, not giving you much guidance. Telling you to make up your own
      mind. That’s what this situation is. We can give you - - we can kind of ask
      you what you think about things and give you some things other jurors
      indicated to us, but to you, is there anything that you think would be
      mitigation or important to you?
      A. No.
      Q. There’s nothing you would give any sufficient consideration to determine
      whether it was mitigating or not?
      A. Correct.

Id.at 64-65. The trial court then attempted to rehabilitate the Venireperson before

denying the defense strike for cause:

      THE COURT: So you can’t go in and automatically - - the law won’t allow
      you to automatically say, “Well, you know, he committed this heinous
      criminal act so therefore he’s gonna be a threat to society.” Following the
      law, you have to presume - - just like the presumption of innocence, you’ve
      got to presume that the correct verdict is life. And make the state prove to
      you beyond a reasonable doubt, if they can, that he would be a continuing
      threat to society. Sometimes we call that question the future-dangerousness
      issue.
      Would he be a danger to other folks in the future? Even in the penitentiary
      system, which is where he would be.
      VENIREPERSON CONDE: Okay.
      THE COURT: Let me ask you, can you do that?
      VENIREPERSON CONDE: Yes, sir.

      THE COURT: Okay. The reason I’m confused is because when Mr. Peale
      asked you a question if you find the defendant guilty of capital murder,
      would you in looking at Special Issue No. 2, because of the heinous act,
      would you always find he would be a continuing threat to society, you
      answered yes.
                                        107
Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 108 of 148 PageID 221


        VENIREPERSON CONDE: Uh-huh.
        THE COURT: That’s not following the law. In fact, that’s in direct
        contradiction. You have two contradicting answers.
        VENIREPERSON CONDE: Huh?
        THE COURT: One you gave to Mr. Birmingham, one you gave to Mr.
        Peale.
        Do you understand? Have I explained to you that you have to follow the law
        and you have to assume or give the defendant the presumption of a life
        sentence?
        VENIREPERSON CONDE: Okay.
Id. at 74.

      Based on this exchange the Court of Criminal Appeals Ruled in a way which

contradicts clearly established Supreme Court Presedent:

      The record shows that Conde vacillated depending on who was asking the
      questions. When the law was explained to her, she affirmed that she would
      follow the law. In this situation, we afford particular deference to the trial
      court's determination.23 Point of error six is overruled.

Sparks, 2010 WL 4132769 at 7. The error committed by the Court of Criminal

Appeals is the same error committed by the state court in White discussed above,

the court failed to discuss the second prong identified in Patton, whether the

protestation of impartiality was believable. Patton, 467 U.S. at 1036. The Court

of Criminal Appeals failed to even address this issue, instead, taking Conde’s

assertion as gospel in spite of her clear bias. The Court of Criminal Appeals

decision was therefore contrary to clearly established federal law.

                               Venireperson Norton


                                         108
Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 109 of 148 PageID 222


      The defense objected to Venireperson Norton on the grounds that he would

always answer the special issues in such a way that a death penalty would result.

18 Ct. R. at 102. Norton’s voir dire examination included the following:

      Q. (By the defense): And then I think your first comments when you first got
      up there and the prosecutor talked to you, you basically said if somebody
      kills somebody and they’re responsible for it, they should get the death
      penalty?
      A. Yes.
      Q. Do you remember saying that?
      A. Yes.
      Q. Would you agree you have pretty strong feelings on the death penalty?
      A. Yes.
      Q. That’s similar to your response- -
      A. Yes.
      Q. - - in your questionnaire.
      So I want to put you in a hypothetical situation. Hypothetically, you’re on a
      jury with 11 other individuals. You and those 11 other individuals have
      determined that the individual is guilty of capital murder, a heinous crime.
      Knowingly and intentionally taking the life of two people. Meant to do it,
      intended to do it. Wasn’t a mistake, wasn’t an accident. Individual wasn’t
      insane at the time.
      At that point right there, if you found him guilty, what are your thoughts on
      the death penalty?
      A. Is that it would a just penalty.
      .....
      Q.....That’s all we’re trying to get at. If that’s your true and honest feeling
      that you feel if I have been placed in a situation like that and if I found the
      person guilty of capital murder, my thoughts are they ought to get the death
      penalty and that’s where I am, nothing wrong with that.
      Tell me your thoughts in that situation.
      A. I would say I feel that if the evidence showed that he was guilty of capital
      murder, I wouldn’t have a problem with answering the questions if the
      evidence showed it to be that they deserve the death penalty. It wouldn’t - -
      I wouldn’t have any issue with that.
      18 Ct. R. at 90-92.
                                        109
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 110 of 148 PageID 223


      The juror continued to insist he could follow the law explaining he would

consider the mitigation special issue. Id. at 95-98. However, the juror could not

explain any situation he thought was mitigation and added “I think people should

be accountable for what they do.”        Id. at 96-97. He did not think genetics,

circumstances of birth, upbringing and environment should be used as an excuse.

Id. at 97-101. Mental defects were not something the venireperson would find

sufficiently mitigating. Id at 101. He was further questioned:

        Q. (By Mr. Peale): Because this question here kind of gives the feeling, as
        the other answers gave me the feeling, that you know what, there’s nothing
        this guy’s gonna really consider, that his mind’s made up. Not a problem
        with that. As I said, doesn’t mean that you’re not a fair person, doesn’t
        mean you’re not qualified. Means maybe this isn’t the case that we would
        want you on.
        A. Yeah.
        Q. So tell me your thoughts and feelings on, now, correlating that question
        with Special Issue Number 2. What are your thoughts and feelings?
        A. I guess I still would feel at this point, not determining guilt or innocence
        but punishment, I feel I could take in consideration anything that would, I
        guess, be leading up to why he’s doing this crime. I mean, I don’t know.
        In being fair, I feel I could, but I don’t know.
Id. at 99.

      In short, this was a severely death leaning juror who should have been

excluded when objected to by the defense. The Court of Criminal Appeals even

recognized many of the issues:

      When defense counsel questioned Norton about his written responses
      to the jury questionnaire, he stated that his own feelings were that if
      someone takes a life, his own life ought to be taken.
                                         110
Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 111 of 148 PageID 224


      ...
      He acknowledged that he had written on his questionnaire that
      background was “not an excuse” in assessing punishment, but he
      affirmed that, after he was made aware of the context for that
      question, he could “probably” take into consideration anything that
      would “be leading up to why [the defendant was] doing this crime.”
      When counsel asked Norton whether he would consider poverty and
      education to be mitigating, Norton responded that they were not
      mitigating. Counsel also asked Norton whether he would consider a
      mental defect to be mitigating. Norton first stated that he was not sure,
      and then later he indicated that a mental defect would not be
      sufficiently mitigating.

Sparks, 2010 WL 4132769 at 7. However, like most jurors, when asked if he could

he keep an open mind and follow the law Norton answered yes. Id. Based on

these answers the Court of Criminal Appeals ruled as follows: “Concerning future

dangerousness, the record shows that Norton stated that he could set aside his

personal views and follow the law. Concerning mitigation, Norton's statements that

particular types of evidence were not mitigating to him did not render him

challengeable for cause. Point of error eight is overruled.” Id.

      The Court of Criminal Appeals fell into the same trap as the lower courts in

White, the court simply took a person’s statement that they could follow the law at

face value, without deciding if the persons statements should be believed. As the

White court pointed out: “[w]ith a transcript reflecting statements as internally

inconsistent and vacillating as these, including numerous statements of strong

doubt regarding impartiality and merely a few tentative or cursory statements that
                                         111
Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 112 of 148 PageID 225


she would be fair, Sheppard was simply unbelievable as an impartial juror.” White

v. Mitchell, 431 F.3d 517, 542 (6th Cir. 2005). The Court of Criminal Appeals

misapplied clearly established federal law in reaching their decision, and further,

the court’s implicit decision that Norton was not biased by his pro-death views was

an unreasonable determination of facts.

                              Venireperson Wheeler

      The defense objected to Venireperson Wheeler on the grounds that he

“equivocated on his responses in regards to the special issues, in particular as to

regards Special Issue Number 1.” 21 Ct. R. at 67-68. The defense argued that

Wheeler’s voir dire showed he would automatically vote for death in the event of a

guilty finding. Id. The trial court overruled the objection and the defense was

forced to use a preemptory challenge. Id. at 69.

      Wheeler believed and supported in the death penalty. Id. at 12. He always

had believed in the death penalty because that is the way he lived his life and was

the way he was brought up. Id. 13. His wife and children also believed in the

death penalty. Id. at 13. He explained that there was a possibility he would always

answer the future danger issue in such a way that would result in the death penalty:

      Q. (By the defense): Prosecution comes down and talks to you about it. And
      he says, “You found him guilty. We’re gonna ask you to go back. Wipe the
      board clean, go back and consider that issue.”

                                          112
Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 113 of 148 PageID 226


      See, now that you had a chance to think about it and take all the time you
      need to think about it some more. Before you get to that question you have
      just found him guilty under that type indictment that you have before you,
      multiple murders, no excuse.
      A. Okay.
      Q. Horrendous crime. Mr. Wheeler, could you honestly tell me that you’re
      gonna go back and make them prove something, or when you go back and
      examine totality of the evidence before you, after anything you might or
      might not hear in the punishment phase, would you honestly be able to go
      back there and find that answer to be no, that he’s not gonna be probably a
      future danger, or would you always answer that question yes, based on the
      finding you make in the guilty phase.
      A. Based on the findings.
      Q. You fell you would always answer that question yes?
      A. Possible.

21 Ct. R. at 52. When asked again if he would always vote yes Wheeler could

only answer “I couldn’t say always.” Id at 55. He also could not think of any

mitigating circumstances, except for self-defense. Id. at 59-60. Further, Wheeler

had written in his juror questionnaire that he didn’t “think mitigation would be

appropriate in a murder case.” Id. at 68.

      The Court of Criminal Appeals once again upheld the trial court’s ruling

because “Wheeler indicated that he would keep an open mind and follow the law”

when asked if he could do so by the state. Sparks, 2010 WL 4132769 at 8. This

was in spite of the Court’s recognition that “[d]uring the defense's examination,

Wheeler was somewhat less sure of his ability to set the defendant's guilt aside

when considering the future dangerousness issue.” Id. In ruling this way the Court

                                        113
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 114 of 148 PageID 227


of Criminal Appeals dispensed with United States Supreme Court’s mandate that

there is “no ritualistic adherence to a requirement that a prospective juror make it

‘unmistakably clear ... that [she] would automatically vote against the imposition

of capital punishment ....’” Wainwright v. Witt, 469 U.S. 412, 419, 105 S. Ct. 844,

849, 83 L. Ed. 2d 841 (1985). The Court of Criminal Appeals erred in upholding

the trial court’s decision to deny the defenses strike for cause on Venireperson

Wheeler.

                              Venireperson Chadwick

      The defense objected to Venireperson Chadwick on the grounds that she did

not understand or appreciate the mitigation scheme in Texas, and that she was a

death prone juror. Id. at 125-26. The defense challenge to Chadwick was denied,

and the defense was forced to use a peremptory strike on her. Id.125-26. In short,

the defense believed that Chadwick’s views would substantially impair her

performance as a juror. See, e.g., Wainwright v. Witt, 469 U.S. 412, 424 (1985)

(The proper standard for deciding whether a juror may be excluded for cause is

whether the “juror's views would prevent or substantially impair the performance

of his duties as a juror in accordance with his instructions and his oath.”)




                                         114
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 115 of 148 PageID 228


      Chadwick’s answer showed both that she did not understand her duty as a

juror, and that she was possibly a death prone juror. When asked if she could

participate in the death sentence process she answered:

      A. I believe so, because ultimately he -- if he's found guilty, he -- he did the
      actions knowing – maybe not knowing that the death penalty could possibly
      be on the other side of his punishment if the person was caught, if he was
      caught.
            But you took a life.
      Q. now, you say “I think so.” If we were getting on the airplane and you
      were strapping in and the pilot came over and said, "I think I can fly this
      plane. I think can, were gonna reach our destination, how would you feel
      about that?
      A. Not too good.
      Q. Okay. Again, I'm not trying to pin you down.
      A. But that’s the decision that was ultimately made taking the lives of the
      people. He brought - - the sentence was brought upon himself. It’s just up to
      myself, if I was chosen, to agree to that. To agree that, yes, he’s found
      guilty, then that’s part of it; you have to do it.
            If the issues, you know, if we can answer those however they would
      have to be answered. But that’s - - I believe in the death penalty. Yeah, it
      would be difficult if it was a family member, yeah, I would want to change,
      probably, That’s my family. But going at this for not knowing the person,
      going at it as an innocent person, not knowing anybody, going in looking
      that way, not having a personal tie to anyone, I could.
26 Ct. R. at 83-84. While the answer is somewhat nonsensical, it also raises

serious doubts as to Chadwick’s bias toward the death penalty. It seems to show

that she would give an automatic death sentence after convicting a person of

capital murder. This belief is bolstered by her answer to the state’s question about

whether the death penalty is ever warranted:


                                         115
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 116 of 148 PageID 229


       A. Well, I think, you know - - now, again, not the accidental death, but I do
       think if someone thought about - - it someone went to - - if they needed 20
       bucks, went to a convenience store and robbed them, stabbed the person,
       killed them, that was not necessary. You got the money; no need to kill
       somebody. Murder’s murder, as long as it’s not an accidental, you know,
       where it was not intentional ; it was a circumstance that accidentally
       happened. But murder’s murder. You took someone’s life, and although
       you may not want your life to be given for that life, eye for an eye.
 Id. at 93-94 (emphasis added). Chadwick also expressed doubts about whether

she could consider the mitigation special issue:

       Q. (by the state) Some people, maybe age may be a mitigating factor. Some
       people, drug abuse may be a significant mitigating factor. Some people say,
       “No, if it’s “ - - like you said in your questionnaire. You know, you don’t
       appear to believe that drug use - -
       A. Not an excuse.
       Q. Right. But again, you have to keep an open mind and at least listen to the
       evidence to determine whether or not it was in this circumstance.
       `      You understand what I’m saying?
       A. I do, but I still don’t think that would be an excuse. I think I wouldn’t
       feel that way. I don’t think I could say that.
       Q. But could you keep an open mind and answer both these questions?
       A. I can the first. The second one, I don’t know. If you find - - if you
       found the person to be a danger already. Well - -
Id. at 100-101 (emphasis added). At the end of a rather confusing question and

answer session with the defense, Mrs. Chadwick explained “I don’t think I

answered that well.” Id. at 125. The defense objected to her in part because after

“an hour and a half of explaining to her by the state and defense” she “doesn’t

seem to fully understand or appreciate the mitigation scheme.” Id. at 125. Also

the defense believed she was death prone. Id. at 125-26. The court overruled the


                                        116
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 117 of 148 PageID 230


defense challenge for cause and the defense was forced to use a peremptory strike

on her. Id.

       Once again the Court of Criminal Appeals treated the juror’s conclusory

claims that they could be fair as the only important factor in deciding juror bias:

       The record reflects that at the beginning of voir dire, Chadwick
       indicated that she generally favored the death penalty. She stated that
       she did not have any problem with assessing the death penalty
       because, in her view, someone who made the decision to take the lives
       of others “brought [the death sentence] upon himself .” However, after
       the prosecutor explained the penalty phase and the special issues to
       her, Chadwick indicated that she could presume that the appropriate
       sentence would be life without parole until the State proved the
       defendant’s future dangerousness to her.

2010 WL 4132769 at 8. Also, concerning mitigation:

       She acknowledged that after finding a defendant guilty and also answering
       the future dangerousness issue affirmatively, she would have to see
       “something massive” to cause her to find sufficient mitigation in order to
       change the death sentence to life. She agreed, however, to listen to the
       evidence and keep an open mind. Her answers during the defense's
       examination were consistent with these responses.
Id.

       Clearly, a person who would require something massive in mitigation and

who thinks that causing the death of person is cause for a death sentence is biased

within the meaning of Witt. Conclusory statements that a person will follow the

law do not change this analysis, unless those statements are believable. They were

not in this case.

                                         117
Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 118 of 148 PageID 231


                             Venireperson Esparza

      The defense objected to Esparza’s presence on the jury on the grounds that

he was mitigation impaired, and because he did not seem to comprehend the Texas

death penalty scheme. 29 Ct. R. at 156-57. The Judge denied their motion to

remove the jury, and the defense exercised a peremptory challenge on the juror.

Id. Possibly the most troubling feature of Esparza’s testimony was the fact he

equated the word probably, with possibly:

      Q: (by the state) Right, we’re saying, “Hey, look, based on the evidence, is
      there a probability that the defendant would commit criminal acts of
      violence?” So we’re asking you to predict the future. Would you agree?
      A: Yes.
      Q: But when we talk about probability, you think probability is greater than
      possibility?
      A: Probably equal.
      Q Basically, we have to prove there is a probability that he would commit
      future criminal acts of violence.
      A: Yes
      Q: Which would be greater than just a possibility, but less than an absolute
      certainty. Can you see that?
      A. Say that again.

28 Ct. R. at 125-26. Eventually Esparza said he understood the difference between

probability and possibility. However, when this was brought up again by the

defense he once again showed he did not grasp the difference. First he denied ever

saying that possibility and probability were the same thing. Id. at 155. He could

not explain the difference between the two words. Id. This is troubling because

                                       118
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 119 of 148 PageID 232


the First Texas Special Issue in Spark’s case was: Do you find from the evidence

beyond a reasonable doubt that there is a probability that the defendant, Robert

Sparks, would commit criminal acts of violence that would constitute a continuing

threat to society? Cl. R. at 499. The question calls for a probability, something

more than a possibility, and a juror who equates these two words necessarily

reduces the burden on the state in proving special issue number one beyond a

reasonable doubt.

      There were other troubling signs in Esparza’s testimony that show he was

death biased. When asked what he considered criminal acts of violence, his

response “stealing a candy bar to committing another capital crime.” Id. at 127.

He did not believe that alcohol, drugs or poverty were even possibly mitigating

circumstances. Id. at 132. He believed strongly in the death penalty and believed

that Texas did not use the death penalty frequently enough. Id. at 143. One a scale

of one to ten, ten being in support of the death penalty, he was a ten. Id. at 142.

He did not seem to know what mitigation evidence would be important to him. Id.

at 153.

      The Court of Criminal Appeals upheld the trial court’s decision not to strike

Esparza for cause. The court gave the following reasoning:

      Esparza's views that poverty and education were not mitigating did
      not render him challengeable for cause. Although he expressed some
                                       119
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 120 of 148 PageID 233


      initial confusion concerning the distinction between “probability” and
      “possibility,” he understood and accepted the distinction once it had
      been explained to him. Therefore, the trial court did not abuse its
      discretion in denying the challenge for cause.

Sparks, 2010 WL 4132769 at 11. This factual analysis was unreasonable in light

of the facts presented to the court. It is clear that Esparza never grasped the

difference between a probability and a possibility, which lowered the State’s

burden on special issue number one. Also, the state court failed to recognize that

Esparza did not seem to believe anything was sufficiently mitigating to call for a

life in prison. Esparza showed, rather clearly, that he was a biased juror, and the

Court of Criminal Appeals erred in deciding otherwise.

                               Venireperson Davis

      The defense objected to Davis on the grounds that he was mitigation

impaired, and because once he found a person guilty of a capital murder and future

dangerousness, he would not consider mitigation. Id. at 54. That is exactly what

Davis said he would do:

      Q. (By Mr. Peale): ....You and the other 11 jurors determine that

      presumption of life has been overcome and that the prosecutor proved to you

      that person’s gonna be a future danger.      You found him guilty of this

      horrendous crime.

      Tell me your thought at that point.
                                        120
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 121 of 148 PageID 234


      A. My thoughts would be, you know, probably the death penalty.
      Q. What’s that? Sorry?

      A. Probably the death penalty.
      Q. You understand that - - and a lot of people feel this way and there’s no
      problem with it. It’s hard to imagine if you find someone guilty of capital
      murder and you found they’re a future danger - - what else is there?
      A. Right
      Q. I think you’re telling me , at that point your mind’s made up.
      A. Yeah
      ...
      Q. So am I correct in saying you believe that once you found him a future
      dangerousness, that the death penalty is what he should get?
      A. Yes.
      Q. And there isn’t anything you would ever consider to be mitigating to
      unring that bell, so to speak?
      A. Uh, yeah.

 29 Ct. R. at 54. Once again, when asked by the judge if he could follow the law

the venireperson answered that he could. Id. 52-53. The judge denied the defense

challenge by expressing the opinion that Davis was fair and that his admission to

the contrary only came about because the defense “tactfully and skillfully inserted

[their] words for his.” Id. at 54-55.

      The Court of Criminal Appeals made the same error once again: “[t]he

record shows that Davis gave inconsistent answers with regard to whether he

would consider mitigating evidence, but he affirmed on several occasions that he

would follow the law and consider mitigating evidence. His assertion that Davis

would always find the defendant to be a future danger is not supported by the

                                        121
Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 122 of 148 PageID 235


record.” Id. at 11. The court’s ruling that the “Davis would always find the

defendant to be a future danger is not supported by the record” is an unreasonable

determination of the facts in light of the evidence presented in the state court

proceedings. Also, the court once again failed to consider both Patton factors,

meaning the Court incorrectly applied clearly established Supreme Court

precedent.

 Sparks was harmed by the trial court’s repeated failure to grant challenges
                                 for cause

      By the time Venireperson Susan Cassel was reached during voir dire, the

defense was out of strikes, many of which had been used on the objectionable

jurors listed above. After Cassel was interviewed by the both the state and the

defense the defense objected that Cassel was “not the kind of juror that the law

envision[ed] sitting on this type of case.” 33 Ct. R. at 129-130. The defense was

concerned that the Cassel did not understand the nature her role as a juror, and

opined that there was no way, “under any stretch of the imagination we could

accept [her] as the 12th juror on the panel.” Id. at 129. They challenged her for

cause, this challenge was denied.     Id.     The defense asked for an additional

peremptory strike, so that they could excuse her from serving, this was also denied.

Id. at 30. The court had previously granted two additional strikes and would not

grant another. Id. The bailiff, Bobby Moorehead, went and got Mrs. Cassel and
                                        122
Case 3:12-cv-00469-N Document 19 Filed 06/10/13             Page 123 of 148 PageID 236


brought her before the court, where she was informed she was the 12th juror. Id. at

30-31.

       Some of Cassel’s voir dire was nonsensical. For example when asked if

society includes prison society she answered as follows:

       A: A little bit. I guess who I am. I don’t know anything about the penal
       system. I’m sorry I don’t. I would say again, believe in your system. I
       would say I, personally, would believe if you were sent to a life
       imprisonment that – I mean, when you say a threat to like, a medical staff
       and the guards and whatnot, I just assume when you’re sent to something
       like that – I guess I don’t think of them as a threat, but I can understand them
       being a little bit of this, that I guess you can be still a threat to society inside.
       Q: Do you think it would help to hear from witnesses who would talk about
       what prison life is like? You think that would help you in making that
       decision?
       A: I guess. I try not to – I think I read on here don’t listen to TV shows.
       That’s all I can go by. That’s silly.
Id. at 65-86. This would become a theme of Cassel’s voir dire, rambling answers

which show a lack of understanding of Texas Death Penalty Scheme. At points

during the voir dire, even on paper, it is clear that Cassel was overwhelmed:

       A: Oh gosh. Go over that again. Sorry.
       Q: (by the state) That’s okay.
             We talked about presumption of life.
       A: Right
       Q. Relax, your doing good,
       A: Okay.
       Q: You seem to be more nervous as I am talking to you.
       A: This is heavy. This is heavy.
Id. at 88-89. When asked if she could consider all of the mitigation evidence

presented, she could only answer “I think so.” Id. at 90.

                                            123
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 124 of 148 PageID 237


      After a painstaking explanation of the law by the state, the defense asked a

simple question:

      Q: Okay: And the law tells you – you remember Mr. Birmingham said just
      like you have to presume he’s innocent in the first part, you have to presume
      what in the second part?
      A: That he’s guilty.

Id. at 107. The juror believed she could follow the law, but she also was unable to

understand what the law was. The Supreme Court has made it clear that a juror is

excludable if they show an “inability to follow the law or abide by their oaths.”

Adams v. Texas, 448 U.S. 38, 48, 100 S. Ct. 2521, 2528, 65 L. Ed. 2d 581 (1980).

In cases where such a person serves on the jury a death sentence cannot be carried

out. Id. In this case, Mrs. Cassel’s inability to reach a basic understanding of

Texas’ death penalty scheme shows that she was unable to the follow the law.

How can one follow a law they do not understand? Sparks was therefore harmed

by having this juror sit on his jury.

VII. Texas’s Death Penalty Scheme Violates the Sixth, Eighth, and
     Fourteenth Amendments By Not Requiring The State to Prove
     Aggravating Factors Relevant to the Mitigation Special Issue Beyond A
     Reasonable Doubt Before the Jury May Sentence

      EXHAUASTION: This argument was presented as 21 and 47 in the State
      direct appeal.

      Texas Code of Criminal Procedure article 37.071 violates the Due Process

Clause of the Fourteenth Amendment because it fails to place the burden of proof
                                        124
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                         Page 125 of 148 PageID 238


on the mitigation special issue to the State to establish a “No” answer, and thereby

implicitly assigned the burden of proof to Sparks.

        A bit of the history that produced this special issue and its surrounding

legislation may be helpful here. The original Texas special issue capital sentencing

system was constructed in response to the Supreme Court decision in Furman v.

Georgia, 408 U.S. 238 (1972). The lack of a vehicle to permit consideration of a

good many types of mitigating circumstances was quickly noticed, but it took some

17 years for the Supreme Court to mandate the use of a vehicle that would permit

sentencing jurors to fully consider and give effect to mitigating circumstances. See

Penry I.

        The Texas legislative response to Penry I was a grudging one. Here is a list

and description of what this writer calls the “crippling amendments” that were

enacted with the legislation providing for the special issue set forth above. First, in

a departure from the long accepted practice that prevailed in Texas as of the date of

the Penry amendments, the Texas legislature relieved the prosecutors from the

burden of proving the lack of sufficient mitigating circumstances beyond a

reasonable doubt. See e.g., Steadham v. State, 119 Tex.Crim. 475, 43 S.W.2d 944

(1931)15.


        15
           Prior to the 1972 amendments in response to Furman, Texas prosecutors had an onerous burden of proof
of “malice aforethought” defined as follows: “Malice aforethought” is the voluntary and intentional doing of an
                                                     125
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                             Page 126 of 148 PageID 239


         Second, in the face of Skipper v. South Carolina, supra, the Texas

legislature enacted a mandatory supplemental instruction limiting Texas capital

sentencing jurors, in deciding the mitigation inquiry, to the consideration of

evidence that they believe to reduce “moral blameworthiness.” Intended or not, this

instruction directs many jurors away from consideration of mitigating facts other

than the circumstances of the offense, especially background facts like abuse as a

child or mental illness less severe than insanity, where the nexus to the crime is not

present or less pronounced.

         Third, the Texas legislature provided that jurors must be told that a life

verdict requires 10 votes, and not told the practical result of a failure to reach a

unanimous verdict, when the law actually only requires that 1) a life verdict results

if there is one vote dissenting from a death verdict, and 2) no mistrial or new trial

will result from a failure to reach a unanimous verdict.

         The result of these crippling amendments is to deny full consideration of

mitigating evidence, especially the kind Sparks presented to his sentencing jury. A

reasonable, law abiding Texas capital sentencing juror after hearing the horrific

crime facts, and the evidence of extraneous misconduct, including a lengthy


unlawful act by one of sound memory and discretion, with the purpose, means, and ability to accomplish the
reasonable and probable consequence of the act; and includes all of those states of mind under which the killing of a
person takes place without any cause which will, in law, justify, excuse, or extenuate the homicide. It is a condition
of the mind which shows a heart regardless of social duty and fatally bent on mischief, the existence of which is
inferred from acts committed or words spoken.” Steadham, supra.
                                                         126
Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 127 of 148 PageID 240


misconduct record from a previous prison sentence, might well decide to place the

burden of proving facts in mitigation of sentence upon Sparks. Absent a proper

jury instruction, such a juror could very well require proof beyond all doubt that

Sparks was indeed suffering from severe mental illness at the time he committed

the murders in this case. A Texas capital sentencing juror that placed such an

impossibly high burden of proof and persuasion on Sparks in the mitigation inquiry

would not be violating his oath as a juror to render a true verdict based on the law

and the evidence. Such a Texas capital sentencing juror would not be in violation

of any law given him by the trial court because the charge does not purport to set

any burden of proof or persuasion on any fact for any party. This feature of the

charge, even considered alone, demonstrates an egregious violation of the

principles of Furman v. Georgia.

      While the Furman Court “did not hold that the infliction of the death penalty

per se violates the Constitution’s ban on cruel and unusual punishments,” Gregg v.

Georgia, 428 U.S. 153, 188 (1976), it did recognize that “the penalty of death is

different in kind from any other punishment imposed under our system of criminal

justice.” Id. Because of its uniqueness, the death penalty can not be imposed under

sentencing procedures that “create a substantial risk that it [will] ... be inflicted in

an arbitrary and capricious manner.” Id. Because the Court found that the capital

                                          127
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 128 of 148 PageID 241


sentencing procedures then being utilized did create such a risk, the Furman Court

invalidated those procedures as incompatible with contemporary standards of

decency.

      There is another feature of the failure to assign a burden of proof or

persuasion in the mitigation inquiry that leads directly to the arbitrary and

capricious infliction of death as a penalty that Furman forbids. The state will often

offer evidence of its own that tends to rebut the defense mitigation case.

      In this case, as discussed at length, see supra, the state offered the expert

opinion of Merillat who explained that Sparks, who is clearly mentally ill, will

essentially have many opportunities to commit violence in prison. The state also

admitted testimony that Sparks, while he was awaiting trial, took opportunities to

be violent in jail, and that these episodes of violence were linked to Sparks’ illness.

39 Ct. R. at 140-45. A reasonable law abiding Texas capital sentencing juror,

exposed to the horrific crime facts and the extraneous misconduct, might well

decide that Sparks was indeed suffering from mental illness at the time of the

murder, but also believe that his mental illness, which should be treated as a

mitigation factor, would make him a future danger in prison.

      Again, such a Texas capital sentencing juror would not violate his or her

oath to render a true verdict according to the evidence and the law because the

                                         128
Case 3:12-cv-00469-N Document 19 Filed 06/10/13        Page 129 of 148 PageID 242


court’s charge, the only law the jurors are to follow, leaves the evidentiary

threshold for consideration of facts adverse to the defendant completely up to the

sentencing juror. The Texas mitigation inquiry simply does not provide the guided

discretion required in Furman that saved the Texas system from facial attack in

Jurek or the vehicle for reasoned moral response that the Supreme Court required

in Penry I. Whether a sentencing juror will conclude that a mitigating circumstance

exists or whether life or death is “warranted” depends heavily on how the court

channels his or her thought processes.

      Sparks argues that the constitutional principles, derived from Furman, and

more recently acknowledged by the Supreme Court in Kansas v. Marsh, 548 U. S.

163 (2006) are offended by the Texas CCA’s refusal to grant relief from the

constitutional frailties of the Texas capital sentencing system, and the mitigation

inquiry in particular.

      The Marsh opinion, authored by Justice Thomas, acknowledged that the

high court had long required due process in the capital sentencing process, citing to

the concurrence by Justice Thomas in Graham v. Collins, 506 U.S. 461 (1993),

which, in turn cited Gardner v. Florida 430 U.S. 349 (1977)[due process required

that the capital defendant be afforded an opportunity to rebut and explain the

evidence adduced to support the state’s death aggravators] and Walton v. Arizona,

                                         129
 Case 3:12-cv-00469-N Document 19 Filed 06/10/13                                Page 130 of 148 PageID 243


497 U.S. 639, 672 (Scalia, J., concurring in part and concurring in judgment).

Other Supreme Court cases have upheld the notion that the right to present

mitigating evidence and to rebut aggravating evidence can only be vindicated with

a rational process, one that will permit a reasoned moral response to the body of

evidence before the jury.16

         As Justice Thomas noted in his concurrence in Graham, supra., the major

emphasis of our Eighth Amendment jurisprudence has been on "reasoned"

sentencing. The Supreme Court has continually sought to verify that States' capital

procedures provide a "rational basis" for predictably determining which defendants

shall be sentenced to death 1. States may satisfy Furman's demands--providing

objective standards to ensure that the sentencer's discretion is "guided and

channeled by . . . examination of specific factors." 2 “The function of a standard of

proof, as that concept is embodied in the Due Process Clause and in the realm of

factfinding, is to ‘instruct the factfinder concerning the degree of confidence our

society thinks he [or she] should have in the correctness of the factual conclusions
         16
           See Simmons v. South Carolina, 512 U.S. 154 (1994) [right to inform the sentencing jury that the capital
defendant will never parole.]
         1
           Furman, supra, at 294 (Brennan, J., concurring). See also Spaziano v. Florida, 468 U.S. 447, 460 (1984);
California v. Brown, supra, at 541; Barclay v. Florida, 463 U.S. 939, 960 (1983) (Stevens, J., concurring in
judgment) ("A constant theme of our cases . . . has been emphasis on procedural protections that are intended to
ensure that the death penalty will be imposed in a consistent, rational manner"); McCleskey v. Kemp, 481 U. S., at
323 (Brennan, J., dissenting) ("[C]oncern for arbitrariness focuses on the rationality of the system as a whole, and . .
. a system that features a significant probability that sentencing decisions are influenced by impermissible
considerations cannot be regarded as rational").
         2
             Proffitt v. Florida, 428 U.S. 242, 258 (1976) (opinion of Stewart, Powell, and Stevens, JJ.).
                                                           130
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 131 of 148 PageID 244


for a particular type of adjudication.’” Addington v. Texas, 441 U.S. 418, 423

(1979) (quoting In re Winship, 397 U.S. 358, 370 (1970) (Harlan, J., concurring)).

With respect to guilt phase elements, the beyond a reasonable doubt standard is

“indispensable” to due process, because “it impresses on the trier of fact the

necessity of reaching a subjective state of certitude of the facts in issue.” In re

Winship, 397 at 364 (internal quotation marks and citation omitted). The same

principle applies to aggravating factors in death penalty cases. See Ring v. Arizona,

supra., Apprendi v. New Jersey, 530 U.S. 466 (2000), and Blakely v. Washington,

542 U.S. 296 (2004). The principles of Ring, derived from Furman, require that

the same rule must apply to the prosecution’s facts offered to rebut the defense

mitigation case, such as the state’s forensic psychologist testimony here.

      In Ring, 122 S. Ct at 2439, the United States Supreme Court wrote: “The

dispositive question, we said, ‘is one not of form, but of effect.’ If a State makes an

increase in a defendant's authorized punishment contingent on the finding of a fact,

that fact — no matter how the State labels it — must be found by a jury beyond a

reasonable doubt.”

      Since Article 37.071 does not assign a burden of proof on the mitigation

special issue it violates Ring, supra. Sparks contends that Ring requires the State to

prove beyond a reasonable doubt that the answer to the mitigation special issue

                                         131
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 132 of 148 PageID 245


should be “NO.” Article 37.071 does not require the State to prove beyond a

reasonable doubt a “NO” answer to the mitigation special issue. In truth, the statute

requires the defendant to prove that the mitigating evidence is sufficient to warrant

a life sentence. This is a violation of Ring, supra.

      Applying these principles to Sparks’ case, the Court can readily see that

Sparks explained his misconduct as the product of severe mental illness, whereas

the prosecutors argued to the contrary, that he was essentially nothing more than an

evil person who deserved death. To decide these issues without the application of a

burden of proof to any party at all is a clear violation of our traditional notions of

due process that all members of the Marsh court acknowledge are applicable in

capital sentencing.




                                          132
Case 3:12-cv-00469-N Document 19 Filed 06/10/13                Page 133 of 148 PageID 246


       Though Sparks does claim that the constitution requires the state to prove its

basic, underlying facts used to rebut the defense mitigation case beyond a

reasonable doubt, he does not go so far as to demand that the overall burden of

proof and persuasion on the ultimate mitigation inquiry be placed on the

prosecution in this case. What Sparks asks the Court to require the prosecution to

prove beyond a reasonable doubt is just the truth of the adverse facts that the jury

might consider when reviewing his mitigation case. As to the ultimate mitigation

issue, Sparks merely asks for our usual adversarial process, the traditional means

of assuring reliability and due process of law in the resolution of important

disputes. In the present state of capital sentencing law, this could mean that the

burden of proof might be assigned to either party by one of the three recognized

burdens of persuasion, a preponderance, clear and convincing and beyond a

reasonable doubt. See Walton v. Arizona, 497 U.S. 639 (1990)19 and Ring v.

Arizona, and cases cited therein. But it cannot mean that the court does not assign

any burden of proof or persuasion to any party on any issue bearing on mitigation

of punishment in a capital case. The failure to afford even the most rudimentary

       19
          In Martin v. Ohio, 480 U.S. 228 (1987), the high court upheld the Ohio practice of
imposing on a capital defendant the burden of proving by a preponderance of the evidence that
she was acting in self defense when she allegedly committed the murder. In Leland v. Oregon,
343 U.S. 790 (1952), the Supreme Court upheld, in a capital case, a requirement that the defense
of insanity be proved beyond a reasonable doubt by the defendant, see also Rivera v. Delaware,
429 U.S. 877 (1976), and in Patterson v. New York, 432 U.S. 197 (1977), the Supreme Court
rejected the argument that a State violated due process by imposing a preponderance of the
evidence standard on a defendant to prove the affirmative defense of extreme emotional
disturbance.
                                                133
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 134 of 148 PageID 247


features of our traditional adversarial process at capital sentencing is objectively

unreasonable in light of the principles of Furman and progeny requiring the proper

guidance of the discretion of the sentencing jury.

      The sentencing jury in this case selected Sparks for the death penalty

without the benefit of any burden of proof or persuasion on any party at all. No

reviewing court can possibly divine whether or how the sentencing jury gave full

consideration and effect to Sparks’s mitigation case. The Richardson v. Marsh

presumption that jurors follow their instructions simply has no application here,

because the sentencing jurors had inadequate instructions guiding the great

discretion given them in deciding their response to the mitigation inquiry. Without

proper guidance, the jury’s decision may have been entirely irrational and

arbitrary. This not only offends the Due Process Clause, it violates the principle of

heightened reliability in capital proceedings right up to the point of execution. See,

e. g. Ford v. Wainright, 477 U.S. 399 (1986)

      The sentencing process that produced Sparks’s death sentence is

constitutionally flawed for failure to provide for and enforce the rule of guided

discretion in another way. Gregg and its companion cases reviewing the several

state’s responses to the Furman mandate stressed the fact that all of the approved

statues required meaningful appellate review. 428 U.S. at 153. The purpose of

appellate review is to provide “a means to promote the evenhanded, rational, and

                                         134
Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 135 of 148 PageID 248


consistent imposition of death sentences . . .” Jurek v. Texas, 428 U.S. at 276. In

Parker v. Dugger, 498 U.S. 308 (1991), the Court re-emphasized “the crucial role

of meaningful appellate review in ensuring that the death penalty is not imposed

arbitrarily or irrationally.”. . . It is a “crucial protection.” Id. While the Court has

held that comparative proportionality review is not required by the Eighth

Amendment, see Pulley v. Harris, 465 U.S. 37 (1984), some form of meaningful

appellate review is still required. See also Sochor v. Florida, 504 U.S. 527 (1992).

In this respect, Sparks says that the Texas system that produced his death sentence

is facially flawed in that the CCA simply does not review this aspect of the

process. It was objectively unreasonable for the CCA to uphold Sparks’s death

sentenced over his Furman based claim of error presented in the Texas trial court

and the CCA.

      To our knowledge, the previous attacks on the application of the crippling

amendments to the fairly straightforward terms of the special issue itself have

taken the form of a global demand for the assignment of the burden of proof and

persuasion to the state in the mitigation inquiry. See Rowell v. Dretke, 398 F.3d

370, 376-77 (5th Cir. 2005); Granados v. Quarterman, 455 F.3d 529, 537 (5th

Cir.), cert denied, 127 S. Ct. 732 (2006); Ortiz v. Quarterman, No. 06-70020, 2007

WL 2936244, at *10 (5th Cir. Oct. 10, 2007); Scheanette v. Quarterman, 482 F.3d

815, 828 (5th Cir. 2007).

                                          135
Case 3:12-cv-00469-N Document 19 Filed 06/10/13          Page 136 of 148 PageID 249


       Sparks’s argument is different, and it rests on a much firmer foundation.

The demand here is also a more modest one, to simply require Texas to honor the

Due Process Clause and the heightened reliability requirement of the Eighth

Amendment by requiring the trial courts to tell the parties and the jurors who has

the burden of proof at mitigation and how high is the standard of proof of the facts

at issue. Put another way, Sparks’s complaint is that he and the sentencing jurors

did not know the rules of the mitigation game before play started, or, indeed, at any

later time. There is no justification for jettisoning our usual adversarial process

right at the point where life or death is to be finally decided. To do so is objectively

unreasonable.

      The Texas CCA overruled Sparks’s Furman argument in two paragraphs

without citing any federal authority. Sparks v. State, 2010 Tex. Crim. App. Unpub.

2010 WL 4132769, at 29. The failure to require proper guidance to the discretion

to the sentencing jury was objectively unreasonable in light of Furman and its

progeny.




                                          136
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 137 of 148 PageID 250


VIII. TEXAS’S 12-10 RULE, AND THE LAW PROHIBITING JURORS FROM BEING
INFORMED THAT THEIR INDIVIDUAL VOTE THAT LIFE IS THE PROPER SENTENCE
WILL LEAD TO A LIFE SENTENCE, VIOLATES THE EIGHTH AND FOURTEENTH
AMENDMENTS AS CONSTRUED BY MILLS V. MARYLAND AND MCKOY V. NORTH
CAROLINA

      EXHAUSTION: This claim was raised on direct appeal as points of
      errors 36-38, and 43.


      Sparks   argues   that   the   Texas’   capital    sentencing   scheme,   by

affirmatively misleading jurors about their individual ability to give effect to

their personal belief regarding mitigation, violates the Eighth and Fourteenth

Amendments. This claim is based on Mills v. Maryland, where the Court ruled

that the petitioner’s sentence could not stand where it was possible that some

“jurors were prevented from considering factors which may call for a less severe

penalty [than death.]” 486 U.S. 367, 376 (1988). As the Fifth Circuit has

repeatedly recognized, “[s]ubsequent to Mills, the Supreme Court has explained

that ‘Mills requires that each juror be permitted to consider and give effect to

mitigating evidence when deciding the ultimate question whether to vote for a

sentence of death.”” See, e.g., Miller v. Johnson, 200 F.3d 274, 288 (5th Cir.

2000) (citing McKoy v. North Carolina, 494 U.S. 433, 442–43, 110 S.Ct. 1227,

1233, 108 L.Ed.2d 369 (1990)); Jacobs v. Scott, 31 F.3d 1319, 1328 (5th Cir.

1994).


                                       137
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 138 of 148 PageID 251


     The constitutional defect with Texas’ current jury instructions is that they,

by statute and as applied in Sparks’ case, mislead jurors about their individual

ability to give effect to mitigating circumstances. Although Texas’ sentencing

statute gives individual jurors the power to prevent the death penalty if they

believe mitigating circumstances call for a sentence of life, that same statute

also misleads jurors into believing their individual belief is immaterial unless

they are able to persuade nine of their fellow jurors that their view of the

evidence is correct. See TEX. CODE CRIM. PRO. ART. 37.071 (Art. 37.071).

Sparks does not argue that it is necessary to instruct jurors about the

consequences of a single holdout juror although that would give meaning to

Art.37.071 Sec. 2 (g) (if the jury is unable to answer either of the special

issues the court shall sentence the defendant to life in prison). Rather, Sparks

argues that the Texas’ sentencing scheme misleads jurors about their individual

ability to “give effect to mitigating evidence when deciding the ultimate question

whether to vote for a death sentence.” McKoy, 494 U.S. at 442-43.

      The State will likely reply that this claim has been consistently rejected by

the Fifth Circuit on two grounds: both on the merits and because the argument is

Teague barred. However, the Fifth Circuit in rejecting this claim has repeatedly

relied upon cases decided before Texas Code of Criminal Procedure 37.071 was

drastically changed in September of 1991, even when in denying this claim for

                                       138
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 139 of 148 PageID 252


 post-1991 cases. In so doing the Fifth Circuit has not addressed the fact that the

 Texas Sentencing Scheme has changed, or how this change affects the analysis

 of this claim.

      Before 1991, Texas’ death penalty sentencing scheme consisted of asking

Jurors a series of three questions:

        (1) whether the conduct of the defendant that caused the death of the
       deceased was committed deliberately and with the reasonable expectation
       that the death of the deceased or another would result;

       (2) whether there is a probability that the defendant would commit
       criminal acts of violence that would constitute a continuing threat to
       society; and

        (3) if raised by the evidence, whether the conduct of the defendant
       in killing the deceased was unreasonable in response to the provocation, if
       any, by the deceased.

Art. 37.071(b) (Supp.1975-1976).

      These questions remained until the law was drastically changed in September

of 1991.

       If the jurors unanimously agreed that each of these questions had been

proven beyond a reasonable doubt, then they answered them ‘yes,’ and a

sentence of death would result. Id. If the jury answered any of these questions

‘no,’ then life imprisonment would result. Id. Much like today, a yes answer had

to be unanimous and a no answer had to be supported by ten of the jurors. Id.



                                        139
Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 140 of 148 PageID 253


      Although the pre-1991 sentencing statute failed to specifically allow

consideration of mitigation evidence, the Supreme Court upheld the statute

because the Texas Court of Criminal Appeals “indicated that it will interpret this

second question so as to allow a defendant to bring to the jury's attention

whatever mitigating circumstances he may be able to show.” Jurek v. Texas, 428

U.S. 262, 272 (1976). Thus, juries in Texas were allowed to consider mitigation

evidence, although they were never told so. Of course the infirmities of the pre-

1991 sentencing scheme were brought to light when the Supreme Court held that

Johnny Paul Penry had been sentenced to death in violation of the Eighth

Amendment because his jury had not been adequately instructed with respect to

mitigating evidence. See Penry v. Lynaugh, 492 U.S. 302 (1989) (Penry I); Penry

v. Johnson, 532 U.S. 782 (2001). As a result, the Texas death penalty sentencing

scheme was changed to expressly allow juries to consider mitigation evidence.

      In 1991 the Texas legislature amended Code of Criminal Procedure art.

37.071 to include a true “mitigation special issue.” See 1991 Tex. Sess. Law

Service Ch. 838 (S.B. 880). Related to Sparks’ case, the two special issues in

question became the following:

      1) “Whether there is a probability that the defendant would commit criminal
      acts of violence that would constitute a continuing threat to society;

      2) “Whether, taking into consideration all of the evidence, including the
      circumstances of the offense, the defendant’s character and background, and

                                       140
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 141 of 148 PageID 254


      the personal moral culpability of the defendant, there is a sufficient
      mitigating circumstance or circumstances to warrant that a
      sentence of life imprisonment rather than a death sentenced be imposed.

Id.; See TEX. CODE CRIM. PRO. art. 37.071 (Vernon Supp. 1993-present).

      The jury could not answer special issue no. 2 “no” unless they agreed

unanimously, and they could not answer special issue no. 2 “yes” unless ten or

more of them agreed that mitigation called for a life sentence. Id. Jurors are not

told that a single juror’s belief that life is appropriate will result in a life

sentence. Id.

      The Fifth Circuit repeatedly held that Mills did not apply to the pre-

1991 sentencing scheme because “Mills involve[d] statutory schemes different

from the Texas sentencing statute and different legal standards.” See, e.g., Webb

v. Collins, 2 F.3d 93, 96 (5th Cir. 1993). This was true, as the pre-1991

sentencing scheme did not actually involve a mitigation special issue. However,

the post-1991 sentencing scheme does include a mitigation special issue and is

therefore much closer to the sentencing scheme discussed in Mills. The problem

is that the Fifth Circuit, in its decisions related to the post-1991 sentencing

scheme, has relied on decision based on Pre-1991 sentencing schemes. Sparks

has not discovered cases which address whether or not the change in the

sentencing scheme affects the analysis of this issue.



                                         141
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 142 of 148 PageID 255


      For example, the state will likely cite Druery v. Thaler, for the

propositions that Teague bars review of this claim and that Mills does not apply

to Texas’ sentencing scheme. 647 F.3d 535, 543 (5th Cir. 2011) cert. denied,

132 S. Ct. 1550 (U.S. 2012). Druery cites Miller v. Johnson for the idea that

“Mills is not applicable to the capital sentencing scheme in Texas.” Id. (citing

Miller v. Johnson, 200 F.3d 274, 288 (5th Cir.2000)). Miller however is not

applicable to the issue currently before this court for many reasons. First, “the

jury at [Miller’s] trial was instructed what to do if they did not reach agreement as

set forth in the charge. The jury instructions provided that if there was any

special issue on which the vote of the jurors was not unanimously ‘yes’ or not at

least ten in favor of an answer of ‘no,’ there should be no answer for that special

issue and the presiding juror should not sign his or her name to any answer form

for that special issue.” Miller, at 288. Had this happened in Sparks case, this

claim would not have been presented. Further, Miller concerned the pre-1991

jury capital sentencing scheme which was not used in Sparks’ case. Id.

However, it is important that the Miller Court did recognized that “Mills

requires that each     juror be permitted to consider and           give effect to

mitigating evidence when deciding the ultimate question whether to vote for a

sentence of death.” Id. Sparks argues that the post-1991 sentencing scheme

does not allow each juror to consider and give effect to mitigating evidence.

                                         142
Case 3:12-cv-00469-N Document 19 Filed 06/10/13      Page 143 of 148 PageID 256


      Concerning the pre-1991 sentencing scheme, the Fifth Circuit ruled that

“Mills may inform the analysis of his claim, but [it does] not dictate the

constitutional rule urged by [the petitioner].” Webb v. Collins, 2 F.3d 93, 96

(5th Cir. 1993). The basis of this ruling was that “Mills involve[d] statutory

schemes different from the Texas sentencing statute and different legal

standards.” Id. At the time that this line of argument was adopted by the Fifth

Circuit, Texas did not use the mitigation special issue. By adopting a mitigation

special, Texas law was brought much closer in line with the sentencing scheme

found in Mills.     Further, the Supreme Court has found that differences in

underlying sentencing schemes do not necessarily provide a basis for denying

relief under Teague. Stringer v. Black, 503 U.S. 222, 229 (1992) (“We

acknowledge there are differences in the use of aggravating factors under the

Mississippi capital sentencing system and their use in the Georgia system in

Godfrey. In our view, however, those differences could not have been

considered a basis for denying relief in light of precedent existing at the time

petitioner's sentence became final.”).

       In conclusion, because the Fifth Circuit has not addressed whether the

1991 change to Texas’ sentencing scheme alters the analysis of this issue this

Court should not be bound by prior precedent and should address this issue on

the merits.

                                         143
Case 3:12-cv-00469-N Document 19 Filed 06/10/13       Page 144 of 148 PageID 257




       IX. Claims Eight to Eleven From the Initial Skeletal Petition
           Raise Contentions of IAC Which Have Been Addressed in
           the Foregoing Sections

       In Sparks’s initial skeletal writ, Claims Nine, Ten, and Eleven

 raised various contentions on ineffective assistance of counsel. The

 substance of these predecessor claims have all been raised in this

 amended petition.


                                  CONCLUSION

      As this petition demonstrates, Petitioner Sparks’s rights under the federal

constitution were violated, unremedied by the Texas courts.

                             RELIEF REQUESTED



Prayer for Relief



 WHEREFORE, Petitioner respectfully prays this Court:



1.   Order that Petitioner be granted leave to conduct discovery pursuant to Rule 6

of the Rules Governing § 2254 Cases and permit Sparks to utilize the processes of

discovery set forth in Federal Rules of Civil Procedure 26-37, to the extent



                                        144
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 145 of 148 PageID 258


necessary to fully develop and identify the facts supporting his petition, and any

defenses thereto raised by the Respondents’ Answer;



  2.    Order that upon completion of discovery, Petitioner be granted leave to

amend his petition to include any additional claims or allegations not presently

known to him or his counsel, which are identified or uncovered in the course of

discovery and that Sparks be granted to leave to expand the record pursuant to

Rule 7 of the Rules Governing § 2254 Cases to include additional materials related

to the petition;



  3.   Grant an evidentiary hearing pursuant to Rule 8 of the Rules Governing §

2254 Cases at which proof may be offered concerning the allegations of this

petition;



  4.   Issue a writ of habeas corpus to have Sparks brought before it to the end that

he may be discharged from his unconstitutional confinement and restraint;



  5.   In the alternative to the relief requested in Paragraph 4, if this Court should

deny the relief as requested in Paragraph 4, issue a writ of habeas corpus to have



                                         145
Case 3:12-cv-00469-N Document 19 Filed 06/10/13         Page 146 of 148 PageID 259


Sparks brought before it to the end that he may be relieved of his unconstitutional

sentences;



 6.   Grant such other relief as may be appropriate and to dispose of the matter as

law and justice require.

      WHEREFORE, PREMISES CONSIDERED, the Applicant SPARKS asks

this Court to hold hearings, make its findings of fact and conclusions of law, and

find that he was denied rights. He requests the Court to vacate his conviction and

issue a writ to the Respondent, or the warden of the Polunsky Unit, ordering

release of Sparks from custody, or alternatively, to reverse Sparks’ conviction and

order a new trial, or alternatively, to vacate his sentence of death and order a new

trial on sentencing.

                                      Respectfully submitted,




                                      LAW OFFICE OF SETH KRETZER
                                      The Lyric Center
                                      440 Louisiana Street
                                      Suite 200
                                      Houston, TX 77002
                                      (713) 775-3050 (work)
                                      (713) 224-2815 (FAX)

                                      seth@kretzerfirm.com




                                        146
Case 3:12-cv-00469-N Document 19 Filed 06/10/13                  Page 147 of 148 PageID 260


                                              /s/ Jonathan Landers
                                              ____________________________
                                              Jonathan Landers
                                              2813 W T.C. Jester
                                              Houston Texas 77018
                                              (713) 301-3153 (work)
                                              (713) 685-5020 (FAX)

                                              jonathan.landers@gmail.com

                                              COURT APPOINTED LAWYERS FOR PETITIONER
                                              SPARKS

                                   CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Petition for Writ of Habeas Corpus

was served on all counsel of record by filing on the ECF System on this June 10, 2013.




                                              _________________________________
                                              Seth Kretzer


                                          VERIFICATION

       As a representative for the petitioner, I verify that the foregoing is true and correct to the

best of my knowledge.

                                              Respectfully submitted,




                                              LAW OFFICE OF SETH KRETZER
                                              The Lyric Center
                                              440 Louisiana Street
                                              Suite 200
                                              Houston, TX 77002
                                              (713) 775-3050 (work)
                                              (713) 224-2815 (FAX)
                                                147
Case 3:12-cv-00469-N Document 19 Filed 06/10/13   Page 148 of 148 PageID 261



                                  seth@kretzerfirm.com




                                  /s/ Jonathan Landers
                                  ____________________________
                                  Jonathan Landers
                                  2813 W T.C. Jester
                                  Houston Texas 77018
                                  (713) 301-3153 (work)
                                  (713) 685-5020 (FAX)

                                  jonathan.landers@gmail.com




                                    148
